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                       IN THE UNITED STATES DISTRICT COURT
                            THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                 Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



                 CONSENT MOTION TO FILE REDACTED REPLY BRIEF

         Mr. Flynn filed his Reply to the Government’s Opposition to the Motion to Compel on

October 22, 2019, under seal because it refers to information covered by the Agreed Protective

Order. Dkt. 127. The government has now circulated proposed redactions to Mr. Flynn’s Reply,

as well as proposed redactions to five of the exhibits Mr. Flynn included in his filing—Exhibits 2,

5, 6, 11, and 12. The government has not redacted anything from Exhibits 1, 3, 4, 7, 8, 9, 10, 13,

14, 15, 16. Mr. Flynn accepts the government’s proposed redactions to the brief and to the five

exhibits. Therefore, Mr. Flynn and the government agree that these documents may all be filed on

the public docket.

         Dated: October 24, 2019

                                                     Respectfully submitted,
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                  Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



  ORDER GRANTING MOTION TO FILE PROPOSED REDACTED REPLY BRIEF

         Mr. Flynn filed a Motion, agreed by the government, requesting the Court filed his Reply

and exhibits, as redacted by the government, on the public docket.

         Mr. Flynn’s motion is GRANTED.

         THE COURT ORDERS the redacted Reply brief, five redacted exhibits, and 11 unredacted

exhibits—all attached as Exhibit A to Mr. Flynn’s motion—be filed on the public docket.



Date: ___________________________                    ____________________________________
                                                     The Honorable Emmet G. Sullivan, Jr.
                                                     United States District Judge
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        For eighty-seven years, the Supreme Court has held that “[t]he first duties of the officers

of the law are to prevent, not to punish crime. It is not their duty to incite to and create crime for

the sole purpose of prosecuting and punishing it. . . [I]t is unconscionable, contrary to public policy,

and to the established law of the land to punish a man for the commission of an offense of the like

of which he had never been guilty, either in thought or in deed, and evidently never would have

been guilty of if the officers of the law had not inspired, incited, persuaded, and lured him to

attempt to commit it." Sorrells v. United States, 287 U.S. 435, 444-45 (1932) (quoting Butts v.

United States, 273 F. 35, 38 (8th Cir. 1921)). Application of the criminal law under such

circumstances “is foreign to its purpose . . . [and] so shocking to the sense of justice that it has

been urged that it is the duty of the court to stop the prosecution in the interest of the Government

itself, to protect it from the illegal conduct of its officers and to preserve the purity of its courts.”

Id. at 446.

        In this case, high-ranking FBI officials orchestrated an ambush-interview of the new

president’s National Security Advisor, not for the purpose of discovering any evidence of criminal

activity—they already had tapes of all the relevant conversations about which they questioned Mr.

Flynn—but for the purpose of trapping him into making statements they could allege as false.

        This is no paranoid “conspiracy” delusion, as the government implies.                It is well

documented by the evidence already made public, which was long known to the government —

yet withheld from the defense—until after Mr. Flynn pleaded guilty and in clear violation of Brady

v. Maryland and its progeny. This includes a still undisclosed discussion by the lead agent to use

news of the “Steele dossier” as “a pretext to interview some people;” the FBI Director’s calculated

decision (contrary to FBI/DOJ protocol) not to notify the White House Counsel that the FBI

wanted to speak with a key member of the President’s staff; a strategically-planned personal call



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from FBI Deputy Director Andrew McCabe, designed to prevent Mr. Flynn from seeking the

advice of counsel or notifying the Department of Justice; planning and rehearsing tactics calculated

to keep Mr. Flynn “relaxed” and “unguarded” so as not to alert him to the significance of the

conversation; anxious text messages between Agent Strzok and his paramour, Lisa Page—

McCabe’s Special Counsel—disclosing the deep personal involvement of these officials and others

in an enterprise without a legitimate law enforcement objective.

            The government works hard to persuade this Court that the scope of its discovery obligation

is limited to facts relating to punishment for the crime to which Mr. Flynn pleaded guilty.

However, the evidence already produced or in the public record reveals far larger issues are at

play: namely, the integrity of our criminal justice system and public confidence in what used to be

our premier law enforcement institution. When the Director of the FBI, and a group of his close

associates, plot to set up an innocent man and create a crime—while taking affirmative steps to

ensnare him by refusing to follow procedures designed to prevent such inadvertent missteps—this

amounts to conduct so shocking to the conscience and so inimical to our system of justice that it

requires the dismissal of the charges for outrageous government conduct.

            “Regard for the requirements of the Due Process Clause ‘inescapably imposes upon this

Court an exercise of judgment upon the whole course of the proceedings [resulting in a conviction]

in order to ascertain whether they offend those canons of decency and fairness which express the

notions of justice of English-speaking peoples even toward those charged with the most heinous

offenses.’” Rochin v. California, 342 U.S. 165, 169 (1952) (Frankfurter, J.) (quoting

Malinski v. New York, 324 U.S. 401, 416-17 (1945)). When the government transgresses these

boundaries—as it has here—the Court must dismiss the case and free the defendant to reconstitute

his life.


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       As new counsel has made clear from her first appearance, Mr. Flynn will ask this Court to

dismiss the entire prosecution based on the outrageous and un-American conduct of law

enforcement officials and the subsequent failure of the prosecution to disclose this evidence—

which it had in its possession all along—either in a timely fashion or at all. Moreover, the

defendant still needs and is still entitled to all the facts in the government’s possession—not just

those Mr. Van Grack was forced to provide because they had already leaked into the public

domain. The government’s tactic of disclosing information because it had made its way into the

news and the internet is tantamount to no Brady disclosure at all, while its self-serving minimized

disclosures were outright deceptive.

                        ARGUMENTS AND AUTHORITIES IN REPLY

       Despite a polite reminder from this Court that its Brady order is paramount,1 the

government’s response depends heavily on its assertion—forty-five times in twenty pages—that

Mr. Flynn pleaded guilty, and thirteen assertions that he waived any right to further Brady

material.2 As expected, the government touts its many Brady disclosures. What it elides, however,


1
  “[T]hat provision is not binding on the Court. That's an agreement between the parties.
Notwithstanding that information in the plea agreement or any statement therein or subsequent
thereto that suggests Mr. Flynn has waived his right to further discovery, the government must
comply with the Court's standing Brady order of February the 16th, 2018, or at some point
demonstrate why it should not be required to comply with that.” Hr’g Tr. 8:21-24, Sept. 10, 2019.
2
  At the status conference in this Court on September 10, 2019, Mr. Van Grack assured the Court
he had never claimed that Mr. Flynn’s plea truncated the government’s responsibility to provide
Brady material or comply with this Court’s Standing Order. Dkt. 114 at 22:13-19. To the contrary,
however, in his letter to new counsel dated June 26, 2019, he wrote: “[I]n the plea agreement your
client signed on November 30, 2017, your client waived the right to any further discovery or
disclosures of information. As such, the government does not anticipate providing additional
information in response to your letter.” On July 12, 2019, Mr. Van Grack again denied there was
any further material owed to Mr. Flynn under either Brady or the Court’s Standing Order, noting
“much of which [production] occurred even after your client had waived his right to any further
discovery or disclosures of information, pursuant to the plea agreement.”

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is that its “disclosures” were so limited, misleading, untimely, or deliberately trivialized as to

render them meaningless—and in some instances, outright deceitful. As the Supreme Court has

recognized, and which happened in the extreme here, an incomplete response could “represent[]

to the defense that the evidence does not exist” and cause it “to make pretrial and trial decisions

on the basis of this assumption.” United States v. Bagley, 473 U.S. 667, 682-83 (1985).

       Every “disclosure” the government touts came after the government had interviewed Mr.

Flynn for five days, and all but the final version of the much-deliberated 302 came after Mr. Flynn

agreed to plead guilty. At the same time, the government tries to shift its affirmative obligation to

produce Brady evidence to former defense counsel, but “[a] rule . . . declaring ‘prosecutor may

hide, defendant may seek’ is not tenable in a system constitutionally bound to accord defendants

due process.” Banks v. Dretke, 540 U.S. 668, 696 (2004).

       Here, the government’s limited and misleading productions confirm the suppression of

additional Brady evidence which warrants a finding of contempt. Remarkably, Mr. Van Grack

prefaced his blandly eleventh-hour “disclosure” with the disclaimer that he had “no legal or ethical

obligation” to give the information to the defense.           What he described as “electronic

communications” of “one of the agents who interviewed Mr. Flynn” “showed a preference for one

of the presidential candidates” was painfully short of the bombshell of truth that exploded in the

national news only one day after Mr. Flynn’s plea.

       The real evidence the government had long suppressed caused a cavalcade of major

events—many within mere days of Mr. Flynn’s plea—and all unknown to him before it. Lisa

Page, Special Counsel to Deputy Director McCabe, resigned; she had edited Mr. Flynn’s 302 and

was part of the small, high-level group that strategically planned his ambush. Lead Agent Peter

Strzok was demoted from the Mueller investigation and ultimately fired. Strzok, who had met


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extensively with McCabe and the high-level, small group, was primarily responsible for creating

the only basis for the charge alleged against Flynn. Ex. 1.

         The day after Mr. Flynn’s plea, the press exploded with the news of Strzok and Page’s

prolific text messages, their affair, and their malice toward President Trump.3 The Inspector

General issued a rare statement that he was investigating the entire matter. MTC 23. Bruce Ohr,

the fourth highest-ranking member of DOJ, was demoted. Judge Contreras, who accepted Mr.

Flynn’s plea only days before, was suddenly and inexplicably recused—only for it to be disclosed

much later that he was a topic of conversation in the Strzok-Page texts because he was a friend of

Agent Strzok.4 And, remarkably, DOJ’s Bruce Ohr was demoted a second time. Ex. 1. This is

merely a snapshot of the aftershock from the earliest revelations into the public domain and to Mr.

Flynn.

A. The Government’s Suppression of the Actual Strzok-Page Texts Mandates a Finding of
Contempt.

         The government’s purported “productions” of the actual Strzok-Page texts also reveal

contempt for this Court’s order and its Brady obligation. MTC 6, 9, 10, 30, 31. The government

did not produce a single text message (among the 50,000) until nine months after it had been




3
  However, the government’s disclosure as Mr. Flynn was signing the plea agreement did not even
name the agent, or the candidate, while the statements by the two key agents showed sheer hatred
of Mr. Trump; for example: “God trump is a loathsome human,” “Stupid fuck,” “Donald Trump
is an enormous d*uche,” and “Trump is a fucking idiot.” Ex. 2.
4
  The government knew that well in advance of Mr. Flynn’s plea that Judge Contreras was a friend
of Peter Strzok and his recusal was even discussed in an exchange of multiple texts. In one text
exchange between Strzok and Page on July 25, 2016, Page said to Strzok: “I can’t imagine either
one of you could talk about anything in detail meaningful enough to warrant recusal,” apparently
referring to Judge Contreras. “Really?” Strzok replied. “Rudy, I’m in charge of espionage for the
FBI. Any espionage [warrant request that] comes before him, what should he do? Given his friend
oversees them?” Ex. 2. None of this was disclosed to the defense or in court.

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handed countless egregious examples; three months after this Court entered its order; and long

after the actual evidence would have made a material difference to Mr. Flynn. Even then, Mr. Van

Grack did not provide the texts to the defense to honor his Brady obligation or this Court’s order.

Rather, he produced them only after they had been exposed publicly by others. The government

is still suppressing crucial evidence.

         Mr. Van Grack “produced” the first batch on March 13, 2018, by link to texts already

released to the public by the Senate Judiciary Committee. He produced the second batch on June

24, 2018, by link to the “Scribd account” of reporter Peter Hasson. Those cannot even be

downloaded. And for his third production, it gave the defense two pages on October 4, 2018.

These go precisely to the issue of McCabe’s Special Counsel Lisa Page editing the Flynn 302.

Ex. 2.

         The government still hides countless damaging texts—exculpatory and material to Mr.

Flynn—that our independent work only recently uncovered. These were reported by CNN but have

not been produced. These demonstrate violations of Brady and this Court’s order that go to the

core of Mr. Flynn’s claim of outrageous government misconduct and to his innocence.

         1. “A Pretext to Interview Some People.”

         On January 10, 2017, Buzzfeed and CNN broke the news of the “Steele dossier” on which

(it was later revealed) the Carter Page FISA application was premised. MTC 7, 26, 24, 27.5 Then-



5
  It was only much later the defense learned what the FBI already knew: This document had been
bought and paid for by the Clinton campaign and the DNC. Both the FBI and Fusion GPS hired
former British spy Christopher Steele. Fusion GPS was on the Clinton payroll, and it also hired
Nellie Ohr—a Russia specialist with CIA ties whose husband Bruce was the fourth highest-
ranking official in DOJ. Ms. Ohr was researching Mr. Flynn also, and his name appears twice in
the “Steele dossier.” Ms. Ohr and Steele funneled their “work” through Bruce Ohr in a back-
channel to the FBI, long after the FBI fired Steele for lying. Ex. 7; MTC 25, 26, 28. Bruce Ohr
also brought future Special Counsel members Andrew Weissmann and Zainab Ahmad into his

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Director Comey had briefed the President-Elect about these “salacious and unverified” allegations

on January 6, 2017, a day after meeting in the Oval Office with President Obama, Vice-President

Biden, Acting Attorney General Sally Yates, Susan Rice, James Clapper, and John Brennan.

Ex. 3.

         As news of the “salacious and unverified” allegations of the “Steele dossier” dominated

the media, Strzok wrote to Page: “Sitting with Bill watching CNN. A TON more out. . . We’re

discussing whether, now that this is out, we can use it as a pretext to go interview some people.”

The government has not produced this text and others around it, in a stunning violation of Brady

and this Court’s order. Ex. 4.

         2. “Many Meetings” to Strategize the Interview of Flynn

         In the next two weeks, there were “many meetings” between Strzok and McCabe to discuss

“whether to interview [] National Security Advisor Michael Flynn and if so, what interview

strategies to use.” Ex. 5.

          January 23, the day before the interview, the upper echelon of the FBI met to orchestrate

it all. Deputy Director McCabe, General Counsel James Baker,                   , Lisa Page, Strzok,

David Bowdich, Trish Anderson, and Jen Boone strategized to talk with Mr. Flynn in such a way

as to keep from alerting him from understanding that he was being interviewed in a criminal

investigation of which he was the target. Ex.12. Knowing they had no basis for an investigation,6

they deliberately decided not to notify DOJ for fear DOJ officials would follow protocol and notify

White House Counsel. They decided not to tell Flynn their true purpose nor give him 1001



back-channel communications with the FBI, DOJ, and Christopher Steele. Bruce Ohr Testimony
to Congress, Aug. 28, 2018, https://tinyurl.com/yxcujccg.
6

Ex.6.
                                                 7
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warnings, so as to keep him “relaxed.” They planned not to show him the transcript of his calls to

refresh his recollection, nor confront him directly if he did not remember. In short, they planned

to deceive him about the entire scenario, and keep him “unguarded.” Exs. 5, 6; MTC 34.

       3. “Off the Rails”

       They knew what they were doing was wrong. Lisa Page wrote: “I can feel my heart

beating harder, I’m so stressed about all the ways THIS has the potential to go fully off the rails.”

Strzok replied: “I know. I just talked with     , we’re getting together as soon as I get in to finish

that write up for Andy [McCabe] this morning. I reminded            about how I told Bill [Priestap]

and the entire group that we should wait 30 to 60 days after the inauguration to change how we

were managing this stuff. As it is, he went ahead, and everything is completely falling off the rails.

I think our stuff is good on our cases, but I have no hope or understanding about what they’re

doing on Jen [Boone’s] side of the house.” Ex. 2.

       The next day, at Comey’s direction to “screw it” in contravention of longstanding DOJ

protocols,7 McCabe personally called Flynn to pave the way for the uncounseled conversation.

They used their “pretext” to circumvent DOJ and ambush interview Mr. Flynn in the White House.


7
  The government did not disclose this to Mr. Flynn until after Mr. Comey bragged about his
breach on national television—not because Mr. Van Grack was complying with this Court’s order.
This short video (https://www.youtube.com/watch?v=NxNhjFrjXqI) reveals Mr. Comey’s
deliberate disregard for DOJ and FBI rules. In fact, Mr. Van Grack only disclosed a bland
summary four days after Comey gloated about it on national television to a laughing audience—
four days before Mr. Flynn’s scheduled sentencing, and because this Court entered its minute order
of December 12, 2017. Dkt. 10. Mr. Flynn seeks disclosure of the full report of Mr. Comey’s
conduct, any memos, notes, and 302s documenting his decision, which was admittedly the subject
of “many intensive discussions” within the FBI. There must be at least notes of several others,
including Comey’s Special Assistant Mr. Campbell, that document the efforts directed against Mr.
Flynn. Ex. 8; MTC 4, 12-14.

  As summarized by Inspector General Horowitz: “We have previously faulted Comey for acting
unilaterally and inconsistent with Department policy. Comey’s unauthorized disclosure of
sensitive law enforcement information about the Flynn investigation merits similar criticism. In a

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       4. The Plan Worked: Mr. Flynn was “Relaxed,” “Jocular,” and “Unguarded.”

       Strzok admitted Flynn was alone, “relaxed and jocular,” “unguarded,” and saw the two

agents as “allies.” Flynn gave them a tour. He talked about hotels they stayed in during the

campaign and the President’s “knack for interior design,” and the long hours of the job. He

complained about politics, but he “always seemed to work his way to the subject of terrorism.”

Exs. 5, 6. Of course, the FBI had already read the transcripts of his phone calls, and the agents

knew there was no criminal intent or any crime in his conversations.

       This and Strzok’s admissions make clear that Comey and McCabe were executing their

own agenda—not investigating a crime. This is why, in Brady evidence still suppressed, Deputy

Attorney General Sally Yates candidly opined that the interview “was problematic” and “it was

not always clear what the FBI was doing to investigate Flynn.”8 This is also why Strzok admitted

that Yates “was not happy” to learn of the interview and PDAG Axelrod argued with FBI General

Counsel James Baker about the FBI’s unilateral decision to interview Flynn. Ex. 6.




country built on the rule of law, it is of utmost importance that all FBI employees adhere to
Department and FBI policies, particularly when confronted by what appear to be
extraordinary circumstances or compelling personal convictions. Comey had several other
lawful options available to him to advocate for the appointment of a Special Counsel, which he
told us was his goal in making the disclosure. What was not permitted was the unauthorized
disclosure of sensitive investigative information, obtained during the course of FBI employment,
in order to achieve a personally desired outcome.” Office of the Inspector General, U.S. Dept. of
Justice, Report of Investigation of Former Federal Bureau of Investigation Director James
Comey's Disclosure of Sensitive Investigative Information and Handling of Certain Memoranda,
61, (29 Aug. 2019), olg.justice.gov/reports/2019/o1902.pdf. By so doing, “Comey set a dangerous
example for the over 35,000 current FBI employees—and the many thousands more former FBI
employees—who similarly have access to or knowledge of non-public information.”. Id. at 60
(emphasis added).
8
 The prosecutors disclosed a seven-line summary of Ms. Yates statement six months after Mr.
Flynn’s plea. Obviously, the Department of Justice knew this around the time of the interview.
The same is true for PDAG Axelrod. MTC 2, 9, 18, 19.

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       5. Reporting Back: Flynn’s “Demeanor Was Sure.”
       He Was Telling the Truth or Believed He Was Telling the Truth.

       The agents returned from interviewing Mr. Flynn, describing their excitement over it, and

with a belief contrary to what they expected, that he had been honest with them. After the

interview, they briefed it three times. Strzok texted Page: “Describe the feeling, nervousness,

excitement knowing we had just heard him denying it all. Knowing we’d have to pivot into asking.

Puzzle round and round about it. Talk about the funny details. Remember what I said that made

Andy laugh and ask if he really said that.”

       Strzok urged: “Also have some faith in        and my assessment. . . . I’m finding it hard to

go out on a counterintuitive yet strongly felt ledge with so many competent voices expressing what

I feel too: bullsh*t – that doesn’t make sense. [] I made some joke about what F said. Something

patriotic or military.”

       Page responded: “It was clear that you both walked in and felt very strongly, so that

obviously counts for something. [] You made a joke about a military band.” Ex. 2. The agents did

three briefings the day of the interview. They reported he had a sure demeanor, and he was telling

the truth or believed he was—even though he did not remember it all. Ex. 6.

       Not long after, the FBI and DOJ wrote an internal memo dated January 30, 2017,

exonerating Mr. Flynn of acting as an “agent of Russia;” and, they all knew there was no Logan

Act violation. The government owes Mr. Flynn the full versions of these exculpatory statements.

MTC 9, 18, 19, 26. He has been smeared as being an agent of a foreign government for several

years now.

       6. Agents Manipulate the Flynn 302.

       On February 10, 2017, the news broke—attributed to “senior intelligence officials”—that

Mr. Flynn had discussed sanctions with Ambassador Kislyak, contrary to what Vice President

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Pence had said on television previously. Overnight, the most important substantive changes were

made to the Flynn 302. Those changes added an unequivocal statement that “FLYNN stated he

did not”—in response to whether Mr. Flynn had asked Kislyak to vote in a certain manner or slow

down the UN vote. This is a deceptive manipulation because, as the notes of the agents show, Mr.

Flynn was not even sure he had spoken to Russia/Kislyak on this issue. He had talked to dozens

of countries. Exs. 9, 10, 11.

       Second, they added: “or if KISLYAK described any Russian response to a request by

FLYNN.” That question and answer do not appear in the notes, yet it was made into a criminal

offense. The typed version of the highly unusual “deliberative” 302 by that date already included

an entire section from whole cloth that also serves as a criminal charge in the Information and

purported factual basis regarding “Russia’s response” to any request by Flynn. The draft also

shows that the agents moved a sentence to make it seem to be an answer to a question it was not.

Exs. 9, 10, 11.

       Flynn resigned and left the White House on February 13, 2017. Ex. 1.

       7. February 14: “Launch f 302.”

       The next day, Valentine’s Day, Strzok texted: “Also, is Andy good with F 302?” Page

replied: “Launch f302.”

       The same day, David Laufman in the National Security Division of DOJ, with whom they

also worked, personally called Covington & Burling to pressure them to file the FARA registration

form for Flynn Intel Group. Ex. 1. MTC 39.9




9
  Mr. Kelner and two more Covington lawyers even had an extensive meeting with six members
of the FARA section including Heather Hunt, David Laufman,                and others to decide how
to write the registration and review a draft, and they had a follow-up call with them. Kelner had
never seen the FARA section “this engaged.” Dkt. 98.
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         Also, the same day, Strzok and Page discussed the Bureau’s leak to the press regarding a

New York Times article describing the FBI’s interview of Mr. Flynn. Again, the government has

withheld these texts in contempt of this Court’s order and Brady:

         Strzok: “Bottom line Mike [Kortan] ran through the boss’ thinking/timeline/narrative of
         this. Bunch of additional detail [redacted] has etc.”

         Page: “Did you mention my attendance to kortan [Mike]?”

         Strzok: “Not to Mike, he had left. The guys left seemed to think no, said Mike was going
         to talk to you.”

         Another message refers to cooperation and “access” but they do not name the outlet.

         “Going to be very apparent we cooperated and gave access A LOT for an article that I

think is going to be very negative. Bad enough for negative press. Far worse to chose [sic] to”

Ex. 4.

         8. The Media Leak Strategy with DOJ.

         April 20, 2017, Strzok texts Page: “I had literally just gone to find this phone to tell you I

want to talk to you about media leak strategy with DOJ before you go.” Ex. 2.

         9. The FBI Opens Obstruction Case on President Trump
         and “Locks In” Case on “Flynn?”

         On May 9, 2017, the day Comey was fired, Strzok texted: “We need to open the case we’ve

been waiting on now while Andy is acting.” Ex. 2.

         On May 10, McCabe opened the “obstruction” investigation of President Trump as

suggested by Comey’s memo of February 14. Ex. 1.

         Also on May 10, in an important but still wrongly redacted text, Strzok says: “We need to

lock in [redacted]. In a formal chargeable way. Soon.” Page replies: “I agree. I’ve been pushing

and I’ll reemphasize with Bill [Priestap].” Ex. 2. Both from the space of the redaction, its timing,

and other events, the defense strongly suspects the redacted name is Flynn. But, whether it is

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Flynn or someone else, it shows the extraordinary deliberation of specific (and now mostly fired)

elements of the FBI to “target” certain people in their pretextual investigation—antithetical to the

Rule of Law.

       Mr. Mueller was named Special Counsel on May 17, and the Flynn 302 was reentered on

May 31, 2017, for Special Counsel Mueller to use. The government has refused to produce

unredacted text messages for this crucial time.

       Mr. Flynn made critical decisions based on a belief that none of this evidence existed. He

was placed on a path to cooperate with the government, work out a deal, and meet with Special

Counsel for days—all under false pretenses.            Then after he was compelled by multiple

circumstances to agree to plead, the government made a deliberately misleading revelation at the

eleventh hour in a self-serving attempt to avoid the outcry and ramifications of the imminent media

explosion of damning truths.10 The government continues to hide evidence of the original 302,

other exculpatory texts, and other forms of information completely. By its incomplete and

trivialized disclosure, the government effectively “represented to the defense that the [real and

egregious] evidence does not exist” and caused it “to make . . . decisions on the basis of this

assumption.” Bagley, 473 U.S. at 682-83; see also, United States v. Ferrara, 456 F.3d 278, 293



10
   Not only did Mr. Van Grack not disclose a single text message before Mr. Flynn agreed to plead
guilty, but Special Counsel apparently managed to control the press on the issue until the plea was
entered on December 1, 2017, in Judge Contreras’s court. It defies credulity to suggest that it was
only unlucky for Mr. Flynn that the story broke the very next day. Part of the evidence we request
includes communications between the press and SCO, which will likely establish that Special
Counsel intensified pressure on Mr. Flynn to plead immediately while it was pressuring the press
not to explode the truth that destroyed the entire case. Karoun Demirjian, Top FBI official assigned
to Mueller’s Russia probe said to have been removed after sending anti-Trump texts, THE WASH.
POST (Dec. 2, 2017), https://www.washingtonpost.com/world/national-security/two-senior-fbi-
officials-on-clinton-trump-probes-exchanged-politically-charged-texts-disparaging-
trump/2017/12/02/9846421c-d707-11e7-a986-d0a9770d9a3e_story.html; MTC 11; Ex. 13.


                                                  13
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n.11 (1st Cir. 2006) (“When the government responds incompletely to a discovery obligation, that

response not only deprives the defendant of the missing evidence but also has the effect of

misrepresenting the nonexistence of that evidence.”).

B. The FBI Knew Its Entire Investigation of Flynn Was A Pretext.

       The FBI had no factual or legal basis for a criminal investigation, nor did they have a valid

basis for a counter-intelligence investigation against an American citizen, and they all knew it.11

Exs. 5, 6. The evidence the defense requests will eviscerate any factual basis for the plea and

reveal conduct so outrageous—if there is not enough already—to mandate dismissal of this

prosecution for egregious government misconduct.

       The government’s assertion that Mr. Flynn “is not charged with being an agent of Russia

and the government has never alleged in this case that he was an agent of Russia” is false. Dkt.

122. That was the FBI’s public pretext for investigating Mr. Flynn—although the agents did not

inform Mr. Flynn they were actually “investigating” him for anything. MTC 23. Obviously,

someone in DOJ understood Mr. Flynn was accused of being a Russian agent, because there is an

internal document dated January 30, 2017, exonerating Mr. Flynn. Having been publicly and

falsely accused of treason and being a “foreign agent,” assertions which also misled this Court,

Mr. Flynn is entitled to all documentation that exonerates him. The accusations were a stake




11
  Under federal law, to establish that an American is acting as an agent of a foreign power, the
government must show that the American is purposefully engaging in clandestine activities on
behalf of a foreign power, and that it is probable that these activities violate federal criminal law.
See FISA, Title 50, U.S. Code, Section 1801(b)(2). Mr. Comey and Mr. McCabe publicly admitted
that in the summer of 2016, they took it upon themselves to single out four individuals associated
with the Trump campaign for investigation. Admittedly, the FBI had no evidence that any of the
four had committed a crime—much less that they “knowingly engage[d] in clandestine intelligence
gathering activities for or on behalf of a foreign power.” Id; see Ex. 3.


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through the heart of a thirty-three-year Army veteran who wrote a blank check on his life for five

years in active combat in devotion to our country.12

       The Mueller Report established that there was no conspiracy between anyone in the Trump

campaign and Russia. It is also apparent now, or will be upon the release of the FISA report of

the Inspector General, that the FBI and DOJ had no legal basis to obtain a FISA warrant against

Carter Page or to investigate Mr. Flynn.13 Yet, the government wants us to accept its word that


12
  Mr. McCabe pointed to Mr. Flynn’s “very public interactions with Vladimir Putin and other
Russians.” These “interactions” seem to have arisen from the work of CIA/FBI operatives Stefan
Halper and Joseph Mifsud, and bookings made by Mr. Flynn’s American speakers’ bureau,
Leading Authorities (which books engagements for countless former government officials and
prominent people). Leading Authorities booked him for three events with “Russian connections”:
one in Moscow for RT and two in Washington. All were well attended by prominent persons from
around the world because of the important issues discussed and the presence of other recognized
experts on the programs. See Ex. 14; MTC 4, 16.

   Mifsud was present at the RT dinner in Moscow, and it is his cell phones recently obtained by
the government that are expected to confirm that he was working for “western intelligence.” Dkt.
124.

    Stefan Halper is a known long-time operative for the CIA/FBI. He was paid exorbitant sums
by the FBI/CIA/DOD through the Department of Defense Department’s Office of Net Assessment
in 2016. His tasks seem to have included slandering Mr. Flynn with accusations of having an
affair with a young professor (a British national of Russian descent) Flynn met at an official dinner
at Cambridge University when he was head of DIA in 2014. Flynn has requested the records of
Col. James Baker because he was Halper’s “handler” in the Office of Net Assessment in the
Pentagon, and ONA Director Baker regularly lunched with Washington Post Reporter David
Ignatius. Baker is believed to be the person who illegally leaked the transcript of Mr. Flynn’s calls
to Ignatius. The defense has requested the phone records of James Clapper to confirm his contacts
with Washington Post reporter Ignatius—especially on January 10, 2017, when Clapper told
Ignatius in words to the effect of “take the kill shot on Flynn.” It cannot escape mention that the
press has long had transcripts of the Kislyak calls that the government has denied to the defense.
MTC 34, 35, 37.
13
  The government’s Brady violations have suppressed evidence of Fourth Amendment defenses
Mr. Flynn was entitled to pursue, especially if that evidence also shows government misconduct.
Information was obtained against Mr. Flynn either through the illegal FISA warrant on Carter
Page, baseless National Security Letters, an undisclosed FISA warrant, or the abuses of the NSA
database documented in the heavily redacted opinion of Judge Rosemary Collyer
(https://www.dni.gov/files/documents/icotr/51117/2016_

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the defense has everything to which it is entitled. Fortunately Brady exists to protect the accused

“from the prosecutor’s private deliberations, as the chosen forum for ascertaining the truth about

criminal accusations.” Kyles v. Whitley, 514 U.S. 419, 440 (1995).

       While Flynn was cooperating extensively on all issues the Special Counsel wanted to

address, the government has trickled out productions over the last year that reveal many things.

Ex. 15. Some of the most notable include : (i) the original notes of the agents differ materially from

the 302s; (ii) there were material alterations to the 302s to set up the “false statements,” and (iii)

the government has extensive reports of Mr. Flynn’s briefings and debriefings on all his foreign

contacts—including his Russia trip and his meeting with Turkish officials—giving lie yet again to

the public pretext of the FBI “investigation” of Mr. Flynn. Further, what is still a heavily redacted

302 for former Agent Strzok, since January 2017, the government knew, but still has not disclosed

the full statements and notes that show Deputy Attorney General Sally Yates said the interview of

Mr. Flynn was “problematic,” and she was “unclear” why the FBI was investigating or

interviewing Mr. Flynn at all.

       Neither Mr. Flynn nor his former counsel had any of these documents or knowledge of the

plethora of information discussed above when Mr. Flynn entered his plea. However, one of the

government’s chief arguments is that because Mr. Flynn was represented by counsel (Covington

& Burling) at all stages of the proceedings, and because counsel was present at all interviews and

other critical events including his plea and concomitant Brady waiver, that either excuses the

government's failures or renders his waiver of them conclusive.




Cert_FISC_Memo_Opin_Order_Apr_2017.pdf), and the more recent decision of Judge Boasberg
(https://www.intelligence.gov/assets/documents/702%20Documents/declassified/2018_Cert_FIS
C_Opin_18Oct18.pdf).

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       The government fails to acknowledge, however, that Covington & Burling was the very

firm that Mr. Flynn paid more than $1 million to investigate, prepare, and then defend the FARA

registration in response to NSD/FARA section’s and David Laufman’s demands. See n.9 supra.

By August 2017, when the government threatened Mr. Flynn with criminal charges related to the

same FARA registration, former counsel were immediately caught in the vice of an intractable

conflict of interest that they never escaped until Flynn engaged new counsel. By no later than

August 2017, the conflict between Mr. Flynn and his former lawyers was non-consentable and not

subject to waiver. Even if Mr. Flynn had been fully informed in writing of the conflict at that time,

the lawyers were obligated to withdraw from the representation without regard to his wishes.14

       Some conflicts of interest are so likely to interfere with the effectiveness of counsel, and

so destructive of the fairness of the proceeding, that courts must prophylactically override a

defendant’s proffered waiver of the right to conflict-free counsel. Wheat v. United States, 486

U.S. 153, 162 (1988) (“[W]here a court justifiably finds an actual conflict of interest, there can be

no doubt that it may decline a proffer of waiver, and insist that defendants be separately

represented.”).   In other words, conflicts of interest that are non-consentable according to

professional norms are also not subject to waiver by a criminal defendant under the Sixth

Amendment.

       “Federal courts have an independent interest in ensuring that criminal trials are conducted

within the ethical standards of the profession and that legal proceedings appear fair to all who

14
   According to D.C. Rule of Professional Conduct 1.7(c)(2), conflicted representation may not
commence or continue unless the affected client provides informed consent, after full disclosure
of the possible adverse consequences “and the lawyer reasonably believes that the lawyer will be
able to provide competent and diligent representation to each affected client.” Comment [7] to this
Rule ensures that the words are taken seriously: the client can be asked to weigh in and judge its
own interests only after the lawyer has become “satisfied that the representation can be
wholeheartedly and zealously undertaken.”

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observe them.” Id. at 160. Although in another case, a court could have remedied this, this Court

had no way of learning the extent of the conflict. That difficulty lies, in part, at the government’s

door. After Wheat, it is open to the government to bring such matters to the attention of the court,

because public rights are also at stake. Here, the government sat back and harvested a guilty plea.

C. Brady Requires the Government to Produce Exculpatory Evidence in Time for the
Defense to Use It.

       For almost six decades the Supreme Court has held that “the suppression by the prosecution

of evidence favorable to an accused . . . violates due process where the evidence is material either

to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” Brady v.

Maryland, 373 U.S. 83, 87 (1963). A Brady violation “has three components: “[1] The evidence

at issue must be favorable to the accused . . .; [2] that evidence must have been suppressed by the

State, either willfully or inadvertently; and [3] prejudice must have ensued.” United States v.

Pasha, 797 F.3d 1122, 1133 (D.C. Cir. 2015) (quoting Strickler v. Greene, 527 U.S. 263, 281-82

(1999)).

           Brady’s mandate is central to due process and crucial to ensure that prosecutors fulfill

their obligation to seek justice rather than convictions. The rule of Brady does so “[b]y requiring

the prosecutor to assist the defense in making its case,” and in that respect “the Brady rule

represents a limited departure from a pure adversary model.” Bagley, 473 U.S. at 675 n.6. Most

fundamentally, Brady is enforced “to ensure that a miscarriage of justice does not occur.” Id. at

675. By claiming “conspiracy theories” and “fishing expeditions,” the government engages in

“label-lynching” to avoid addressing the facts, its misconduct, and the law.15 But the government

is bound to see that “justice shall be done.” United States v. Berger, 295 U.S. 78, 88 (1935)

15
  The government relies on out of Circuit cases that provide more support for the defense than for
the prosecution. The government cites United States v. Caro-Muniz, 406 F.3d 22, 29 (1st Cir.

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       This Circuit holds that exculpatory and impeaching evidence must be disclosed in time for

a defendant to use in preparing his defense. In Pasha, the court slammed the government for

suppressing important exculpatory evidence from a witness for eight months, until the eve of trial.

797 F.3d at 1133.      The appellate court agreed with the district court that this delay was




2005), for the proposition that “Brady does not permit a defendant to conduct an in camera fishing
expedition through the government’s files.” Mr. Flynn agrees with this unexceptional point of law,
and Caro-Muniz is an excellent case to underscore why his request is far from what courts consider
fishing expeditions. In Caro-Muniz, the FBI sent an undercover informant to talk with the
defendant multiple times before indicting him on charges of bribery. There were 140 tape
recordings and the government disclosed 71 prior to trial. The defendant moved for the production
of the rest of the tapes “on the basis that they might contain exculpatory or impeachment evidence.”
Id. at 28.

        Without any further showing, the trial court tasked an FBI agent to listen to all the tapes to
make sure “the [defendant’s] voice [wa]s not heard in any of them and nor is he or anyone related
to the facts of this case mentioned in these recordings.” After that review, the court ordered the
production of “three recordings where [the defendant’s] voice could be heard, six additional
recordings that were directly or indirectly related to the [] investigation, and transcripts of eight
recordings that were not directly or indirectly related to the investigation.” Id.

        As a last-ditch effort, the defendant requested more tapes on appeal, which is when the
First Circuit affirmed the lower court’s production order, but denied the defendant’s request for
even more tapes because he “presented neither a theory regarding the existence of potentially
exculpatory evidence on the tapes, nor has he made any showing that the tapes would be of
substantial assistance to his defense.” Id. By the First Circuit’s standard, Mr. Flynn is entitled to
all Brady material he has listed. Mr. Flynn has shown ways this material would have been of
substantial assistance to him in defeating the government’s allegations. It is also relevant to the
motion to dismiss he expects to file.

       Similarly, the government quotes Kasi v. Angelone, 300 F.3d 487 (4th Cir. 2002), for the
proposition that “the Brady right to obtain exculpatory evidence [does not] equate to a right to
rummage through government files” but, again, in that case, the Fourth Circuit noted that the
defendant “concedes that he cannot point a specific identifiable piece of evidence that may have
been favorable or in any way material to his guilt or innocence” and that he had not “giv[en] a
clue” as to what evidence would be useful to him. Mr. Flynn has specifically identified the
evidence he requests and how it relates to his case.


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“inexcusable,” for the Government should have understood as soon as they were finished talking

with that gentleman they had an obligation to give that information to the defense.” Id.16

       Mr. Flynn was entitled to all the Brady evidence in the government’s possession well

before November 2017. The D.C. district court’s decision in United States v. Quinn underscores

Bagley’s rule that both late and incomplete disclosures are tantamount to suppression of evidence

and violate a defendant’s due process rights. 537 F. Supp. 2d 99 (D.D.C. 2008).17 The court studied

the government’s limited disclosure and concluded “the government had no excuse for

withholding this information from [the defendant], and its decision to do so violates its Brady duty

of disclosure.” Id. at 112 (citing a S.D.N.Y. case where the court dismissed because the

government “failed to inform the defense until a week before trial that it would not be calling a

witness whose credibility was now in doubt by the government”). Many high-profile cases make




16
   The Pasha court footnoted the district court’s chastisement of the prosecutors, wherein the
district court noted that “failure to comply with Brady obligations had more than once been a
problem in this case.” 797 F.3d at n.8. The district court also noted: “What is particularly troubling
is that this is the second time in this case that the Government has withheld significant Brady
information for an extended period of time. When is the Government going to learn?” Id.
Apparently not by January 2017, despite the district court’s decision nine years earlier.
17
   In Quinn, the government did not disclose to the defendant that its chief witness was almost
certainly lying about the defendant’s conduct, Quinn, 537 F.Supp. at 105, and instead only
announced—after trial began—that it no longer planned to call the witness. Id. The court held
that “the government must disclose Brady information at such a time as to allow the defense to use
the favorable material effectively in the preparation and presentation of its case.” Id. at 108.

        Although the government claimed that it did not know with absolute certainty that its star
witness had lied, the Quinn court held that this “constituted a breach of the government’s duty to
search for Brady” id. at 110 [quotations omitted], and the defendant “was misled and left with the
incorrect perception that he alone doubted [the witness’s] credibility.” Id. at 109.


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clear that the government will not learn until prosecutions are dismissed and it is held to the highest

standard of accountability.18

       The government dismisses its duty to produce impeachment evidence in a single sentence,

claiming the Supreme Court has held its Brady obligation “does not extend to impeachment

evidence.” United States v. Ruiz, 536 U.S. 622 (2002); Gov. Reply Brief, 7, Oct. 1, 2019. But Ruiz

did not overrule Giglio v. United States, 405 U.S. 150, 154 (1972) (“When the ‘reliability of a

given witness may well be determinative of guilt or innocence,’ nondisclosure of evidence

affecting credibility falls within the general rule [of Brady.]”), and Bagley, 473 U.S. at 676-77

(stating emphatically “[t]his Court has rejected any such distinction between impeachment

evidence and exculpatory evidence”). Both hold that impeachment evidence is encompassed

within Brady, and no court has held that Ruiz radically altered the Brady/Giglio landscape. Rather,

Ruiz focused on the voluntariness of the plea, and there was not even an allegation that any

information was withheld.

        This Circuit applies the Giglio and Bagley standard that “‘impeachment evidence . . . as

well as exculpatory evidence falls within the Brady rule.’” In re Sealed Case No. 99-3096 (Brady

Obligations), 185 F.3d 887, 892 (D.C. Cir. 1999) (quoting Bagley, 473 U.S. at 676). This is

because “evidence that impeaches the [government’s witnesses] is almost invariably ‘favorable’

to the accused, because by making the government’s case less credible it enhances the defendant’s”

case. 185 F.3d at 893. When impeachment evidence is exculpatory, as noted in Giglio and Bagley,

it is Brady like any other. McCann v. Mangialardi, 337 F.3d 782, 787 (7th Cir. 2003). The



18
  In re Contempt Finding in United States v. Stevens, 744 F. Supp. 2d 253 (D.D.C. 2010) (aff’d
by United States v. Stevens, 663 F.3d 1270 (D.C. Cir. 2011); United States v. Kohring, 647 F.3d
895 (9th Cir. 2011); United States v. Kott, 423 Fed. Appx. 736 (9th Cir. 2011); United States v.
Brown, 459 F.3d 509 (5th Cir. 2006).

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government cannot be the “architect of a proceeding that does not comport with standards of

justice.” Brady, 373 U.S. at 88.

       The government views the charges against Mr. Flynn in a vacuum, arguing “[w]hether or

not the FBI or DOJ contacted members of the White House before the defendant’s January 24

interview has no bearing on whether the defendant lied to the agents during the interview.” Dkt.

122 at 16. But, circumstances that brought about his improper interview, the conduct and

credibility of the agents who interviewed him, and the broader landscape that precipitated this

unjust prosecution are all relevant to Mr. Flynn’s alleged guilt.         Here, the conduct of the

government is "so outrageous that due process principles would absolutely bar the government

from invoking the judicial process to obtain a conviction." United States v. Russell, 411 U.S. 423,

431-32 (1973). Indeed, this entire investigation and prosecution is so fundamentally unfair as to

be "shocking to the universal sense of justice." Id. at 432.

D. Full, Actual, Unredacted Documents, The Original 302, Drafts Prior to
February 10, 2019, and the 1A File and Subfiles Must be Produced Pursuant to Brady.

       The only basis for the allegations against Mr. Flynn depends on the agents’

characterizations of his statements to them in January 24, 2017, in the ambush interview. Yet,

their own notes contradict the 302, fail to support it at all in other ways, do not support the factual

basis for the plea, and cannot serve as evidence of any crime. Mr. Strzok’s “notes” appear that

they were not taken contemporaneously with the interview, which only creates more suspicion.

Both sets of notes are redacted, but neither redacted documents nor summaries can substitute for

the actual, full documents—especially in this case. Summaries are not evidence at all, and as this

Court has warned, “they are opportunities for mistake and mischief.” Tr. of Mot. Hr’g 9, United

States v. Stevens, No. 08-231 (D.D.C. Apr. 7, 2009); Flynn Br. in Supp. of Mot. to Compel

Production, Dkt. 109 at 16.
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       Inexplicably, the government asserts: “both interviewing agents have been clear, since the

beginning and in their documentation, that the defendant made false statements to them on January

24, 2017, about multiple topics.” But the government has no cite for this claim, nor does the

defense have one. To the contrary, Mr. Flynn was honest with the agents to the best of his

recollection at the time, and the agents knew it. The belatedly-disclosed Strzok-Page texts make

clear that the agents left the interview with a firm conviction Mr. Flynn was being honest, and they

maintained that conviction despite strong expressions of disbelief and cries of “bullshit” from their

colleagues. Ex. 2. Nonetheless, for whatever reason, the agents did not record all Mr. Flynn’s

responses, nor did they record them all correctly in their notes, and the ultimate 302 and

prosecution are even more questionable. Exs. 9, 10, 11.

       The evidence the defense requests, if produced, would defeat the factual basis for the plea.19

The original 302 is crucial to this as are the original notes. The government elides the truth that

the FBI has it and any other drafts prior to February 10, 2017. The FBI can retrieve it from its


19
  This is one of the many reasons no one should be prosecuted for a violation of 18 USC 1001
unless the statement has been recorded. Every law enforcement officer has that ability on his
phone. Sidney Powell & Harvey Silverglate, Conviction Machine (Encounter Books 2020).
Everyone knows a simple difference in tone can completely change the meaning of a sentence.

        Note that the criminal referral of former Deputy Director McCabe is predicated on several
recorded interviews, under oath, with full knowledge of the purpose of the proceedings and an
opportunity to correct any misstatements. After initially lying to James Comey by claiming or
leading the then-Director to believe that “McCabe had not authorized the disclosure [to the media]
and did not know who did,” the INSD of the FBI interviewed him under oath where he again
claimed “he had not authorized the disclosure to the WSJ and did not know who did.” Several
months later, under oath to the OIG—in a recorded interview—he swore that he was unaware his
own Special Counsel Lisa Page was authorized to speak to the media on the issue or where she
was at that time, and finally some four months after that, McCabe lied under oath about having
lied under oath in all the previous incidents. The OIG determined McCabe authorized the leak to
the WSJ via his Special Counsel “to advance his personal interests at the expense of Department
leadership,” and referred his case for prosecution. Office of the Inspector General, U.S. Dept. of
Justice, A Report of Investigation of Certain Allegations Relating to Former FBI Deputy Director
Andrew McCabe, Feb. 2018.

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Sentinel system that logs and serializes the drafts, or the FBI can retrieve it from the file or sub-

file in which it is buried. Neither the FBI nor its Sentinel system loses the most important of its

reports that is supposed to support the federal felony of the President’s National Security Advisor.

The only reason for it to be suppressed is that it is favorable to the defense. If the agents recorded

in the original 302 their impressions that Flynn was being truthful, had “a sure demeanor,” and

“showed no signs of deception,” and that was edited out, it is “game over” for the government.

Tellingly, Mr. Van Grack has chosen his words carefully, and he has not denied an original 302

exists.

          This was the most important interview the FBI did—carefully orchestrated by the Director

and Deputy Director after many internal discussions, and extensive meeting of the upper crust of

the FBI for no valid purpose. 20 The original 302 is not “missing.” If the government will not

produce it, it could only have been deliberately destroyed, and this prosecution should be dismissed

on that basis alone. United States v. Cooper, 983 F.2d 928 (9th Cir. 1992) (holding that the district

court properly dismissed the indictment due to the government's destruction of evidence by relying

on the test articulated by the Supreme Court in California v. Trombetta, 467 U.S. 479, 489 (1984)

and Arizona v. Youngblood, 488 U.S. 51, 58 (1988)).

          1. Agent Strzok’s notes do not appear to have been taken contemporaneously during
          the interview.




20
   The FBI knew that its questions had nothing to do with “Russian interference” in the election.
Indeed, it had nothing to do with the election at all. As recently apparent from the Report of the
Inspector General, this was Comey and McCabe’s personally motivated operation in defiance of
all protocols and procedures—deliberately circumventing DOJ. Office of the Inspector General,
U.S. Dept. of Justice, Report of Investigation of Former FBI Director James Comey’s Disclosure
of Sensitive Investigative Information and Handling of Certain Memoranda, August 2019. The
government is also required to produce these statements under Fed. R. Crim. P. 16(a)(B)(i).

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       Only the junior agent was taking notes during the interview. Strzok’s 302 of July 2017 says

that he was handling the interview and his partner was taking notes. A 302 is to be written into

Sentinel within five days. Notes are to be signed and dated by the notetaker. Inexplicably, we

have two sets of notes with significant redactions—neither of which is signed and dated as

required. Exs. 9, 10. Agent Strzok’s notes are far more detailed, lengthy, and written in a way

that would not appear to be physically possible to write in a contemporaneous, casual setting. Ex.

10. The defense requests production of the actual, original notes, and handwriting samples of

Strzok of contemporaneous and non-contemporaneous notes to evaluate another anomaly that

further calls into question the entire effort by the FBI to manipulate and set up Mr. Flynn, and its

report of that interview. Ex. 16.

       2. The 302 statement that Mr. Flynn was told the “nature of the interview” is false.

       As discussed supra, the government is suppressing evidence of notes, reports, or recordings

of the significant meeting the upper echelon of the FBI held to orchestrate the agents’ ambush of

Mr. Flynn so as to keep him “relaxed.” They purposely did not tell him they were investigating

him and strategized at length to avoid raising any concerns. Ex. 6 (“Flynn was unguarded and

clearly saw the FBI agents as allies.”).

       3. Mr. Van Grack’s Productions of Flynn 302s Were Incomplete and Misleading.

       But it gets worse. When Mr. Van Grack made his first official production to former counsel

of any actual documents (other than the (final) Flynn 302 produced on Nov. 22, 2017) on March

13, 2018—all of which should have been produced before Mr. Flynn pleaded guilty—Mr. Van

Grack made it sound like there was only one 302:

       Attachment I, which consists of two documents, is the interview report for the
   January 24, 2017, interview. SSA [redacted] and DAD Strzok digitally signed and
   certified the report on two occasions. They first digitally signed and certified the report
   in February 2017. They later digitally re-signed and re-certified the report in order to

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   remove a header. Specifically, the [sic] initially signed and certified the report, dated
   February 15, 2017 had mistakenly stated that it was a “DRAFT;” the documents are
   otherwise identical.

       This is false.

       On May 25, 2018, Mr. Van Grack dribbled out another production—again denying any

obligation to do so under Brady or the Court’s Standing Order. This included a draft 302 dated

February 10, 2017, as if it were the only other one.

       That was also misleading. After former counsel called Mr. Van Grack, on June 1, 2018,

the government produced two more drafts of the 302—these dated February 11, 2017, and

February 14, 2017. Mr. Van Grack did not explain why all these intervening drafts were not

produced in March, nor how they suddenly turned up, and there are material differences—

especially from February 10 to February 11. Ex. 11.

       Obviously, there are drafts of the 302, including an original draft in the files or subfiles of

the Sentinel System of the FBI dating back to January 24, 2017, or so—the date of the actual

interview of Mr. Flynn. Brady requires the production of the original 302, all drafts, notes,

recordings, statements, and all testimony of the two agents along with all participants in any of the

meetings to plan the ambush of Mr. Flynn “to keep him relaxed.” If they are not there, then they

were wrongfully destroyed. Either way, the government must be held to account.

       4. The Final 302 Falsely States that Mr. Flynn Remembered Making Four to Five
       Calls from the Dominican Republic When Both Sets of Notes State He Does Not
       Remember.

       Notes by both agents state that Mr. Flynn does not remember making four to five calls to

Ambassador Kislyak from the Dominican Republic, where he was on vacation, but that if he did

so, it was because phone service was poor and he kept getting dropped. “I don’t remember making

4-5 calls. If I did lousy place to call.” The final 302 states the opposite: “Flynn remembered

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making four to five calls that day about this issue, but that the Dominican Republic was a difficult

place to make a call as he kept having connectivity issues.” Ex. 11. This dramatically demonstrates

the wrongheadedness of allowing a 302 to create a federal felony.

       5. The Notes Provide No Support for a Chunk of the 302 That Purports to Provide a
       “Factual Basis” for the Plea.

       Two out of four of the alleged false statements in the Statement of Offense are based on

what the agents claim Mr. Flynn said or did not say about the response of the Russian Ambassador

on two separate issues.21 Even if we assume the skimpy, vague, and ambiguous notes correctly

represent anything the agents might claim, the notes provide no support for a question or an answer

about the Russian Ambassador’s response—either to the UN vote or the sanctions. Exs. 9, 10.

       6. Mr. Flynn’s Statements Were Not Material.

       At the conclusion of the December 18, 2018, hearing, this Court expressed concern about

the factual basis for the plea on the issue of materiality, and rightfully so. The government publicly

asserted the “FBI had an open investigation into the Government of Russia’s (‘Russia’) efforts to

interfere in the 2016 presidential election, including the nature of any links between individuals

associated with the Campaign and Russia, and whether there was any coordination between the

Campaign and Russia’s effort.” Statement of Offense, pg. 1. However, the Brady material

disclosed long after the plea and still undisclosed evidence shows that the agents asked him nothing

relevant to “efforts to interfere in the 2016 election.” Id. Likewise, nothing about his calls to

Kislyak in late December 2016 as part of the transition into office had anything to do with


21
   “FLYNN also falsely stated that he did not remember a follow-up conversation in which the
Russian Ambassador stated that Russia had chosen to moderate its response to those sanctions as
a result of FLYNN’s request.” ¶3, Statement of Offense. “FLYNN also falsely stated that the
Russian Ambassador never described to him Russia’s response to FLYNN’s request regarding the
resolution.” ¶ 4, Id.

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coordination between anyone in the campaign and Russia. The agents did not ask even a single

question about any coordination.

       To the extent one can say the “interview” addressed “the nature of any links between any

individuals associated with the campaign and Russia,” all pretexts for the interview of Mr. Flynn

are belied by evidence that the FBI knew exactly what Mr. Flynn had discussed with the Russian

Ambassador on the issue of sanctions and the UN vote. They asked no question related to election

interference or coordination between the campaign and Russia, and policy discussions by the

incoming National Security Advisor were none of the FBI’s business.

       Whatever Mr. Flynn said to anyone regarding the UN issues had nothing to do with the

FBI’s alleged “investigation” about the 2016 election and could not be the basis for false

statements “material” to that issue. According to the notes, he was not even sure he had spoken to

Kislyak on that issue. Exs. 9, 10.

       7. The Flynn 302 Is Discussed in the Page-Strzok Texts and Was Not Approved by
       McCabe Until the Day After Flynn Resigned from the White House.

       Flynn resigned on February 13, 2017. The next day, Strzok texts: “Is Andy good with

[Flynn] 302?” Page replies: “Launch on f[lynn] 302.” It is no accident that McCabe himself

approved the Flynn 302 the day after Mr. Flynn left the White House—three weeks after the

interview and a prolonged “deliberative process” —which is not even appropriate for a 302.

E. Classified Information Will Prove that Any Investigation of Mr. Flynn Was Pretextual.

       1. Yunis Mandates Disclosure of The Classified Information Requested as Brady.

       The balancing test in Yunis only applies to classified information for which the government

affirmatively asserts a valid privilege against production. United States v. Yunis, 867 F.2d 617

(D.C. Cir. 1989). In its opposition to Mr. Flynn’s Motion to Compel, the government does not

assert a privilege against disclosure of information or even identify which information the defense
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has requested is classified. Accordingly, it should all be produced because either (i) Yunis does

not apply unless information is classified, and most of the Brady evidence the defense requests is

not classified; or (ii) the government has failed to assert a privilege. Id. at 623 (“the requested

discovery and the response of privilege trigger a further inquiry”). The privilege asserted in Yunis

is the basic national security privilege and is analogous to the informant’s privilege. It protects

critical “intelligence sources and methods.” Id. at 620. There are no sources or methods to protect

in this case.

        The government cannot conceal its wrongdoing behind a claim of classification. As

President Obama made clear in Executive Order 13526, §1.7: “In no case shall information be

classified, continue to be maintained as classified, or fail to be declassified in order to: (1) conceal

violations of law, inefficiency, or administrative error; (2) prevent embarrassment to a person,

organization, or agency.”      Yunis is merely a final protection to make sure that classified

information is properly requested, but once a showing has been made, the door opens to

accommodate a defendant’s constitutional rights.

        2. The DIA Reports of Briefing and Debriefings Belie Any Basis to Investigate Mr.
        Flynn and Likely Further Undermine the Factual Basis for the Plea.

        The defense is entitled to the reports the DIA has of all the work Mr. Flynn did for the

Agency while the FBI was asserting he was a foreign agent. The government has long known that

Mr. Flynn pre-briefed the DIA on his meeting with Turkish officials in New York in September

2016, yet it produced nothing until August 2019—again, when Mr. Van Grack learned it was being

produced elsewhere. This undercuts (i) the government’s contention that he ever worked as an

“agent of Turkey” in violation of 18 U.S.C. §951; (ii) the factual basis for his plea; and (iii) that

he received any benefit from not being charged with a FARA-related violation. See United States

v. Rafiekian, No. 1:18-cr-457-AJT-1 (E.D. Va. Sept. 24, 2019).
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       Mr. Van Grack knows about this letter, and he questioned people about it. He may have

seen it and have a copy of it. It was written by the United Kingdom’s National Security Advisor,

Sir Mark Lyall Grant, and hand-delivered January 12, 2017, from the British Consulate to the

incoming National Security team in New York. It was not classified. Protocol dictates that it was

also provided to the then active national security advisor—Susan Rice. This was two weeks before

the pretextual interview of Mr. Flynn, and it eviscerates the credibility of Christopher Steele whose

false and unverified assertions mention Mr. Flynn and were used by the FBI to obtain illegal FISA

warrants that likely reached the communications of Mr. Flynn. It undermines the entire “Russia-

collusion” fable that Comey, McCabe and others used to justify their unlawful conduct. Ex. 7.

(two pages of Steele dossier). In fact, that letter alone should have mandated termination of the

FISA warrant, which was wrongly renewed twice after the Grant letter was delivered—including

once for the wrongful benefit of Special Counsel. Anything obtained as a result of that warrant

would have to be suppressed and could not be used against Mr. Flynn.




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                                          CONCLUSION

       In its relentless pursuit of Mr. Flynn, the government became the architect of an injustice

so egregious it is “repugnant to the American criminal system.” Russell, 411 U.S. at 428 (citations

omitted). For these reasons and those in our original Motion and Brief in Support, this Court

should compel the government to produce the evidence the defense requests in its full, unredacted

form. Given the clear and convincing evidence herein, this Court should issue an order to show

cause why the prosecutors should not be held in contempt; and should dismiss the entire

prosecution for outrageous government misconduct.

Dated: October 22, 2019

                                                     Respectfully submitted,




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2019, a true and genuine copy of Mr. Flynn’s Motion

for Leave to File Under Seal was filed under seal using the Court’s CM/ECF system. The same

copy was sent to all counsel of record by electronic mail, including:



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                      FLYNN KEY EVENT TIMELINE

Date          Event
07/19/2016    Lisa Page texts Peter Strzok “Donald Trump is an enormous d*uche”
              Trump accepts the GOP nomination (General Flynn joined the Trump
07/21/2016    Campaign sometime in 2015)
              Lisa Page texts Peter Strzok: “I can’t imagine either one of you could
              talk about anything in detail meaningful enough to warrant recusal,”
              referring to Judge Contreras. Peter Strzok replies: “Really? Rudy, I’m in
              charge of espionage for the FBI. Any espionage FISA comes before
07/25/2016    him, what should he do? Given his friend oversees them?”
              John Carlin announced his resignation on 9/27/2016 - Formally left the
10/15/2016    NSD on 10/15/2016
10/20/2016    Strzok texts “…Trump is a fucking idiot…”
              Trump Election Day; Gen. Flynn publishes op-ed in The Hill about
11/8/2016     Gulen
              President-elect Trump names Michael Flynn as his National Security
11/17/2016    Advisor
11/30/2016    DOJ issues FARA to Flynn
12/22/2016    Flynn calls multiple countries re: UN Action
12/29/2017    Flynn returns call from Kislyak in DR
01/10/2017    Passing the Baton Ceremony
Jan/2017      DOJ/FBI know no basis to prosecute Flynn for Logan Act
              David Ignatius -- Washington Post: "According to a senior U.S.
              government official, Flynn phoned Russian Ambassador Sergey
              Kislyak several times on Dec. 29, the day the Obama administration
01/12/2017    announced the expulsion of 35 Russian officials. . . . "
              General Flynn is sworn in as National Security Advisor. The Wall
              Street Journal reports that US counterintelligence agents have been
01/22/2017    investigating Flynn’s communications with Russian officials
              WP reports, “There was no active investigation on Flynn & no evidence of
01/23/2017    wrong doing U.S. officials said.”
              Lisa Page texts Peter Strzok: “I can feel my heart beating harder, I’m
              so stressed about all the ways THIS has the potential to go fully off the
01/23/2017    rails.”
              Multiple FBI executives meet to plan/strategize interview of Flynn so
01/23/2017    as not to alert him to investigation and to keep him “relaxed”
01/24/2017    FBI Agents interview Flynn; report to multiple people they believed Flynn
              Peter Strzok texts Lisa Page: “Describe the feeling, nervousness,
              excitement knowing we had just heard him denying it all, knowing we’d
              have to pivot into asking. Puzzle round and round about it. Talk about the
              funny details. Remember what I said that made Andy laugh and ask if he
01/24/2017    really said that.”


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              DOJ has internal memo--still not produced--that clears Flynn of being an
01/30/2017    "agent of Russia."
02/13/2017    Gen. Flynn resigns as National Security Advisor
              DOJ FARA division David Laufman calls Covington to pressure
02/13/2017    FARA filing
              Comey meets with Trump who "hopes" he will “let the Flynn thing go.”
              Comey writes memo with obstruction claim.
              Strzok-Page text: “Also, is Andy good with F 302?”
02/14/2017    Strzok-Page text "Launch on f 302”
02/15/2017    McCabe approves Flynn 302
03/07/2017    Covington files FARA Registration
              First reports allege Flynn relationship with Svetlana Lokhova -
03/31/2017    instigated by Stefan Halper
              The Department of Justice issues subpoena on Flynn Intel Group Inc.
04/05/2017    re: FARA registration
05/09/2017    President Trump fires James Comey
              Page/Strzok text: “And we need to open the case we have been waiting
05/09/2017    on now while Andy is acting.”
05/10/2017    McCabe opens obstruction investigation on President Trump
05/10/2017    Senate Intel Committee Subpoenas Flynn
              Page/Strzok Text: “We need to lock in [redacted]. In a formal
05/10/2017    chargeable way. Soon.”
              Mary McCord - Acting Assistant Attorney General - DOJ’s National
05/11/2017    Security Division leaves DOJ
05/16/2017    NYT Publishes story based on Comey’s leaked memo
05/17/2017    Robert Mueller named Special Counsel
              Covington receives 2 subpoenas from SSCI to FIG Inc., FIG LLC, and
5/23/2017     a narrow subpoena to Gen. Flynn
              Covington receives 2 subpoenas from HPSCI to Gen. Flynn and FIG
5/31/2017     LLC dated 5/25/2017
              Lisa Page leaves Special Counsel and DOJ. IG notifies Mueller of text
Mid June      messages.
07/26/2017    FBI raids Manafort's home; searches his wife in bed at gunpoint
07/27/2017    Peter Strzok demoted
07/28/2017    The Department of Justice collects Gen. Flynn's phone and computer
10/20/2017    Rosenstein Authorizes Mueller to Target Michael Flynn Jr.
11/16/2017    General Flynn interviews with the SCO
11/17/2017    General Flynn interviews with the SCO
11/19/2017    General Flynn interviews with the SCO
11/20/2017    General Flynn interviews with the SCO
11/21/2017    General Flynn interviews with the SCO
11/22/2017    Prosecution produces Flynn 302 (final one) to Covington
              Extensive meeting with SCO; late in day Flynn agrees to plead to one
11/29/2017    count and continue cooperating with US


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              Late afternoon, prosecutors make last minute telephonic disclosure of
              electronic communications showing a preference for one candidate

              General Flynn signs plea agreement to one 1001 count for making false
11/30/2017    statements to the FBI on 01/24/2017 and signs cooperation agreement
12/01/2017    Judge Contreras takes Flynn guilty plea at 10:30 a.m.
              Press breaks news of Strzok Page texts, affair, and anti-Trump malice;
12/02/2017    OIG issues rare statement re investigation
              CNN reveals that Strzok changed wording of Comey’s Clinton speech
12/04/2017    to avoid statutory language of gross negligence
12/06/2017    Bruce Ohr demoted at DOJ
              News breaks that Bruce Ohr was in contact with Fusion GPS while
              FISA application was submitted and granted;
12/07/2017    Judge Contreras recused
12/07/2017    Judge Sullivan assigned case
02/12/2017    First Brady order entered (Dkt. 10)
12/20/2017    James Baker - FBI General Counsel - demoted and reassigned
              Andrew McCabe - Deputy FBI Director - announced retirement effective
12/23/2017    March 17, 2018
01/08/2018    Bruce Ohr - demoted a second time.
01/23/2018    James Rybicki - Chief of Staff to FBI Director James Comey resigns
01/29/2018    Andrew McCabe forced to Resign Acting Director Position
              Josh Campbell - Special Assistant to James Comey – Announced his
02/02/2018    resignation
              Michael Kortan FBI Asst. Director Public Affairs - Resigned - Effective
02/08/2018    02/15/2018
              David Laufman - DOJ National Security Division, Deputy Asst. –
02/07/2018    announces resignation
02/09/2018    Rachel Brand - Associate Attorney General - Resigned
02/16/2018    Judge Sullivan enters Second Brady order (see Dkt. 20)
              Prosecution’s first Brady production includes first actual Strzok-Page
03/13/2018    texts by link to publicly available information
03/16/2018    Andrew McCabe - Deputy FBI Director - Fired
              Greg Bower - FBI Assistant Director for the Office of Congressional
3/30/2018     Affairs - Resigned
05/04/2018    James Baker - Senior-Most Legal Counsel at FBI- Resigned
8/10/2018     Peter Strzok Fired
              Bill Priestap - Assistant Director - Head of FBI Counterintelligence –
12/05/2018    announced retirement




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Contact w/ GOR [GOR=Govt of Russia] Trump campaign thru inaug[uration]
Walk thru GOR contact
Who, purpose, form
In person?
Email?
Phone?
Calls: Approx how many? Logs
LARGE REDACTION [1/3 page]




1st to be invited GRU HQ [OPD] Summer '13 4 day trip
Kislyak knew not sure if then
Sergun GRU head VTC [video tele-conference]
28 Feb 14 visit to US but then Crimea cancelled




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Next trip to Russia
Doing media stuff but not paid
RT after hours? + Al Jazeera Sky + many others
LAI speakers bureau: speak in Moscow re ME [Middle East]
RT 10th Aniv
1-1 panel discussion LAI set up + paid him
Contracted + had a fee @ 75%
Heard Sergun had heart attack @ Lebanon




Died @ Lebanon and called Kislyak to send condolences
Around death
Not [past?] of Sergun = felt we US could work w/ him
Common fighting terr scars Chechnya and AF (Afghanistan)
Next time Turk Ambo killed post-election




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Up to 20 Jan spoke easily 30 different countries
+ multiple people w/in countries
Kislyak only person in Russia
4+1 PRC, DPRC, Iran, Russia, ISIS
If common partner




Short call: sorry it happened, common enemy in
Radical Islam, that was it before Xmas
Mid-Dec day after assassination
(Xmas day airplane crash USO equiv)
Called w/ condolences for crash + that was it
Goal: keep relationship going




                                                   3
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Xmas day vacation to Dom Rep 5 days
28th (Tues): Kislyak sends text: can you call
Didn’t see text til 29th not checking
29th I’ll call 15-20 min
K asked: can we set up a VTC btwn P + T for 21st
Conference in Astana: Rus (sends some from amb)
Turk Iran, oppo groups
My level? No, someone lower
Will get back, but didn’t until this past
Week
Didn’t decide until this Fri-Sat to attend
Rus wants lead in ME peace we want Turkey




                                             4
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Met in NY post-election, In Nov early or before Thanksgiving
Greats of future admin
Met in NY post-election, came to Trump Tower w/
Jared Kushner
Been to Emb before speaking
DIA due diligence, prep, then saw Ambo @
Prior Amb Res.
30-45 min courtesy call




Kislyak in NY mtg w/ UN Ambo I + JK @ Trump
Tower
Treasury sanctions still awaiting Treasury action
He wasn’t aware of meeting, invited late
--That’s a good reminder


                                              5
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22 Dec UN                                            Egypt Israel
                                                     Senegal
                                                     France

Called a bunch          UK
Don’t know if called K (Kislyak) maybe I did
14 total 5 + 1? Need to abstain
What is your position
No: hey if you do this . . . .




Any         vote this way, slow down
   No
Egypt didn’t like, was able to delay 1 day
Appreciate you reminding me that was another convo




                                               6
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Maybe Thurs-Fri prior to Xmas, had been @ FL w/ POTUS
Did from GSA campaign R
Spoke on 29th
Expectations                                    No recollection of that
Surprise




[Shill?]
4-5 calls that day? If so, don’t remember. If so, lousy place to make phone calls
Nothing long drawn out don’t do something

DT: Hope
John McEntree
Dan Scavino older [???] [nature??]


                                                 7
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Later classified setting: Examples
Things in play
More substantial now than cold war
Ezra: someone known introduced themselves to Hicks
[Unknown unknown]




                                            8
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4 Subjects
[ ?]   1. Trump-Putin Call Set-Up
       2. Exchange Holiday Greeting
       3. Offering condolences for lives lost Russian plane crash
       4. Syria continuance on ISIS




DIA 1st invited [unknown] GRU leadership OPD. All approved. 4 day trip. Summer 2013
Kislyak – I don’t know if I met him there. Very appreciative visit. Sergon-GRU UTC- in uniform.
Set-up big visit him to come to US. 28th Feb 2014. Went to Crimea – Nothing more to that.
Next time. Trip to Russia so much press unbelievable. Never paid by media.




Did RT, Al Jazeera, Sky, MSNBC. Speakers bureau LAI. Request to speak in Moscow @ me. At RT
10th Anniversary. I was paid for that. Speakers bureau paid me. They took 25%. I may have. Sergun
heart attack in Lebanon. He was like me. Similar background. Sons. Heard death – send condolences.
Really wasn’t part of campaign. Really thought Sergun was okay we could work with. Connections
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fight terrorism. Chechnya combat scars. Talked @ Afghanistan. Turkish ambassador killed. 20 Jan –
up to probably spoken to 30 countries. Multiple people in countries.




4+1
China
NK
Russia
Iran
ISIS

Only Russia Kislyak. Direction.
Common partner in these things. Don’t know Trump/Putin got along. Figure out POTUS work with
Russia. Russia amb. Turk. Sorry. Common problems. That was it.
 Before Christmas. Mid December. Called next day. He said his family love, Christmas Day - plane
crash. Russian USO. Choir sang at my dinner. Took opportunity to pass condolences. Trying to keep
relationship. CJS – report [conversation??]




No affinity Russia – Kislyak counterpart. Vacay Dom Republic.
28th Dec a Tuesday – he sends me a text. Can you call me? I didn’t see it.
24 hours later. Call you in 15-20 mins. 1 hour ahead Dom Republic.
Asks me. Set-up UTC Putin/Trump – 21st. Have him qued into
Conference in Astana, Kazakhstan, Russia, Turkey, Iran, opposition groups.
Sent US Embassy person. Didn’t get back to him. Probably only this past week.
Make decision for representation – FRI/SAT. Observer.
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Russia wants lead role for mid east peace. US. Turkey under wing.
Lack of engagement. Email – receptive person. Met in NY post election.
Closed door meeting Jared Kushner.
Been to Rus emb – before I went to speak at speaker bureau.




DIA briefing prior. Intel courtesy to see Ambo. 30-45 mins. Son with me.
Late middle of day. Ambas. Res. University Club. NY Meet in Nov.
Maybe before Thanksgiving. He was in NY. Relatively sensitive meeting JK @
Sensitive – Countries don’t want white house to know. No personal > WH relationship Trump
Tower.
Set expectations – set high for countries.

UN Vote – settlements. Yes good reminder. Yeah so 22nd December litany countries
get sense where stood on that vote. UK. Senegal. Egypt, Israel, maybe France. Maybe Kislyak.
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Get a sense abstain, veto. This very
More where they stand. I don’t believe we would change anything. There
Needed to be so many to abstain. 14 countries permanent counsel 5+9
Only US Abstain. US. Wasn’t hey if you do this it will be that kind of thing, hey where do you stand.
Senegal came up – how much.
Not please consider voting this way?
No. Where do you stand? What’s position.
Egypt – did not like it. Other channels. Delayed on own accord.
Drill exercise – how fast can you get someone on the line – battle drill.
NK – how do we act? How respond?
Mar-a-Lago – Friday or Thursday. Right before Christmas. Boxed us in.




Transition not good. Policy.
Kislyak – Repp? 29th spoke. I don’t, the conversation was on
VTC, Astana thing, I had no TV, my government blackberry
No recollection? Not really. I don’t remember. Hey don’t do anything.
Total surprise. I didn’t know about it until media.
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Cyber briefing. Decision, what
Kislyak – start off on good foot. Looking forward to relationship.
I wouldn’t understand it. I can understand PNG of one.




Start good relationship. Move forward.
I don’t remember making 4-5 calls. If I did lousy place to call.
Nothing long drawn out about don’t do something.

Ezra
1 person here. Approached Hope Hicks. Someone I introduced
Close to Trump.
Hope Hicks, John McEntee, Dan Scavino
Leak of [unknown] classified [unknown], electronic devices,
real world examples, here is what is in play. [To beat?]
maybe we take moderate
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SUBJECT TO PROTECTIVE ORDER


                                           · 1 of   5 -·



                              FEDERAL BUREAU OF INVESTIGATION
                                                                             Date of entry
                                                                                             02/1011/2017

                         DRAFT DOCUMENT/DELIBERATIVE MATERIAL
 Do not disseminate outside   the   FBI   without   the    permission   of     the      originator
 or program manager.



                 On January 24, 2017, Deputy Assistant Director (DAD) Peter
         P. Strzok II and                     , interviewed United States
         (U.S.) National Security Advisor Michael T. FLYNN, date of birth
         (DOB)                   , at his office at the White House. After
         being advised of the identities of the interviewing agents and the
         nature of the interview, FLYNN provided the following information:

     -            FLYNN’'s first          invitation       to Russia          occurred when             he      was
     the
            Director of the Defense Intelligence Agency (DIA).   FLYNN was the
         first DIA Director to be invited to GRU headquarters.      During
         that four day trip in 2013, he participated in a leadership
         development program at GRU (Russian Military Intelligence)
         headquarters.          FLYNN received proper authorization within
         the U.S. Government prior to conducting the trip. FLYNN could not
         recall if he met Russia’s Ambassador to the United States, Sergey
         Ivanovich KISLYAK, during this trip.                HeFLYNN
         described the Russians as very appreciative of his visit.
                During this trip to Russia as DIA Director, FLYNN first met
         the then -GRU Director Igor SERGUN. Following the trip, FLYNN and
         SERGUN continued official their relationship on at least one
         occasion through video teleconference (VTC) and were planning a
         visit for SERGUN to travel to the United States on February 28,
         2014. Russia invaded Crimea in the weeks prior to SERGUN's planned
         trip, SERGUN's trip was cancelled, and FLYNN had no further
         contact with the GRU Director.       FLYNN described SERGUN as being
         akin tohaving common ground with FLYNN in that they had similar
         backgrounds, their sons were the same age, and they had a
         connection in fighting terrorism. SERGUN had scars from Chechnya
         and they shared stories about Afghanistan. FLYNN stated he called
         Ambassador KISLYAK following SERGUN's death in




                                                                                             DOJSCO-700022303
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                             Michael Flynn                ,Ou   01/24/2017   Page   2 of 5
           Lebanon early last year to express his condolences.        FLYNN described


SERGUN wasas someone the U.S. could work with.  FLYNN said he was not really
part of the TRUMP campaign at the time of histhis call to KISLYAK.

          -         FLYNN stated his second trip to Russia, after he left
          U.S. government service, had received so much press attention
          that “it [was] unbelievable."       As background, FLYNN explained
          that he was never paid directly by media entities, however, he
          hashad been a contributor on a variety of media entities including
          Al Jazeera, Russia Today (RT), SKYSky, and MSNBC. FLYNN received a
          request byfrom his speakers bureau, Leading Authorities (LAI),
          to speak about Middle East issues at the RT 10th Anniversary
          reception in Moscow. FLYNN was paid for the speech by LAI (who
           took what FLYNN estimated to be a 25 percent fee), who paid FLYNN's
           fee. . FLYNN did not know from whom LAI received payment.
                    FLYNN met with KISLYAK at the Russian Ambassador's residence
           next to the University Club prior to this trip to Russia.
                    ItThe visit was a courtesy call to the Ambassador prior to
           his trip, and FLYNN took his son with him to this meeting.        The
           meeting occurred in the mid-afternoon. In addition, FLYNN received
           a DIA threat briefing prior to the travel.

          -              Prior to the Presidential inauguration, FLYNN said
           he spoke to multiple representatives in each of approximately
           thirty countries' representatives and multiplepeople in each
           country. The ''governments.                                  FLYNN
           stated the only'' exception to that practice was Russia, in that
           FLYNN has had substantive conversations only with KISLYAK, and
           no other members of the Government of Russia.                FLYNN's
           interest in Russia was as a common partner in the war on terror.

           FLYNN does not know if PUTIN and TRUMP will get along, but it is
           FLYNN’s job to figure out paths to work with Russia to fight
           terrorism. FLYNN named the primary threats to the U.S. as the “four
           plus one:” China, Russia, Iran, North Korea and ISIS.   FLYNN stated
           if the U.S.     could neutralize one of the four, or even better, to
           leverage their cooperation fighting a common enemy such as
           terrorism, that would be a success for U.S. national security.

          -        Sometime prior to Christmas, 2016, the Russian Ambassador
          to Turkey was assassinated. FLYNN called KISYLAK the next day to
          say he was sorry and to reinforce that terrorism was theirour
          common problem.                  FLYNN noted that it was a short
          call, and "that was it.” On Christmas Day, a Russian military plane
          crashed and killed all on board to include what was the equivalent
          to the "Russian USO;" it
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was the same Russian choir that sang at the RT event. FLYNN called
KISYLAK to pass his condolences, as his intent was to try to keep
the relationship with KISLYAK going.       I don't remember this:
FLYNN expanded that he has no particular affinity tofor Russia
and, but that KISLYAK iswas his


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           counterpart.], and maintaining trusted relationships within
           foreign governments is important.

           Shortly after Christmas, 2016, FLYNN took a vacation to       the
           Dominican Republic with his wife.       On December 28th, KISYLAK
           sent FLYNN a text stating, "Can you call me?"       FLYNN noted
           cellular reception was poor and he was not checking his phone
           regularly, and consequently did not see the text until
           approximately 24 hours later.     Upon seeing the text, FLYNN
           responded that he would call in 15-20 minutes, and he and KISLYAK
           subsequently spoke. The Dominican Republic was one hour ahead
           of the time in Washington, D.C. During the call, KISYLAK, asked
           FLYNN to set-up a VTC between President-elect TRUMP and Russian
           President PUTIN on January 21st. In addition, FLYNN and
           KISLYAK discussed the U.S. sending an observer to a terrorism
           conference in Astana, Kazakhstan, that would be attended by
           Russia, Turkey, Iran and Syrian opposition groups.
           FLYNN stated he did not respond back to KISYLAK about the conference
           until probably this week. FLYNN did not make the decision on who
           would represent the U.S. until the 20th or 21st of January, and
           finally determined an observer from the U.S. Embassy in Astana would
           attend. FLYNN expanded to interviewing agentsnoted that while Russia
           wanted to take the lead for peace in the Middle East, but the U.S.
           needed to be the leader, particularly to keep Turkey under the
           U.S.’s wing. FLYNN notedadded there was a complete lack of
           engagement from the prior administration.

           FLYNN was-       The interviewing agents asked FLYNN if he had
             any other text, email,text, or personal meetings with
             KISLYAK or other: Russians.
           FLYNN volunteered that after the election, he had a closed door
           meeting with KISLYAK,KISYLAK and Jared KUSHNER at Trump Tower in
           New York City. KISLYAK was in New York to meet with his diplomats,
           and the three had a relatively sensitive meeting.         FLYNN was
           a late addition to the meeting and did not participate in setting
           it up. FLYNN believed the meeting took place before Thanksgiving
           but was unsure of the date. FLYNN explained that other meetings
           between the TRUMP campaignteam and various foreign countries took
           place prior to the inauguration, and were sensitive inasmuch as
           many countries did not want the then-current administration to know
           about them. There were no personal relationships between the
           leaders of many countries and the prior administration. FLYNN
           stated that he and personnel from the incoming administration met
           with many countries “to set expectations for them, and the
           expectations were set very high."

       -                   FLYNN was asked  by theThe interviewing agents asked
                       FLYNN if he recalled any discussions with KISLYAK about a
                       United Nations (UN) vote
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                          M ic h a e l F l y n n       .on 01/24/2017   ,Page   4 of   5
          surrounding the issue of Israeli settlements. FLYNN
          commentedquickly responded, "Yes, good reminder." On the 22nd of
          December, FLYNN called a litany of countries to include, Israel,
          the UK, Senegal, Egypt, maybe France and maybe KISLYAK. Part of the
          reason for FLYNN's calls was to conduct an exercise to see how
          fast hethe incoming administration could get someone on the line.
          FLYNN equatedlikened it to a battle drill to see who the
          administration could reach in a crisis. ThisThe exercise which was
          conducted at the campaign's GSA transition building on 18th and I
          Streetsstreets N.W., which FLYNN described as a somewhat chaotic
          environment. FLYNN stated he conducted these calls to attempt: to
          get a sense of where countries stood on the UN vote, specifically,
          whether they intended to vote or abstain.

          FLYNN was asked byThe interviewing agents asked FLYNN if he made any
          request of KISLYAK to vote in a particular way or    take any
          action. FLYNN stated he did not.        FLYNN stated he did not
          believe his calls to the various countries would- change anything.
          FLYNN recalled there needed to be a certain number of abstention
          votes to alter the outcome, and that having looked at the math at
          the time, he knew itcould not be achieved.    FLYNN said 14
          countries were voting, and had a recollection of the number of five
          votes being important. In the end, only the U.S. abstained,. FLYNN
          stated his calls were about asking where countries would stand on a
          vote, not any requests of, "hey if you do this."

         FLYNN was asked byThe interviewing agents asked FLYNN if he made any
         comment to KISLYAK about voting in a certain manner, or slowing down
         the vote.vote, or if KISLYAK described any Russian response to a
         request by FLYNN. FLYNN answered, "No." ” FLYNN continued
         thatstated the conversations were along the lines of where do you
         stand, and what's your position.
         FLYNN heard through other channels that Egypt didn't like the vote,
         and believed the 8gyptiansEgyptians of their own accord delayed the
         vote a clay of their own accordday.     FLYNN again stated that he
         appreciated the interviewing agents reminding him that he had
         another conversation with KISLYAK.

         FLYNN was asked byThe interviewing agents asked FLYNN if he recalled
         any conversation with KISLYAK surrounding the expulsion of Russian
         diplomats or closing of Russian representationsproperties in
         response to Russian hacking activities surrounding the election.
         FLYNN saidstated that he did not. FLYNN again seatedreiterated his
         conversation was about the PUTIN/TRUMP VTC and the "Astana thing"
         (the Kazakhstan conference described earlier).      FLYNN noted he
         was not aware of the then-upcoming actions as he did not have
         access to television reporting news
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               FLYNN MEETINGS WITH SCO AND PROSECUTORS &
                   GOVERNMENT PRODUCTIONS OF DOCS
 Date                 With Whom                   Person Interviewed
 Nov. 16, 2017        SCO                         Flynn
 Nov. 17, 2017        SCO                         Flynn
 Nov. 20, 2017        SCO                         Flynn
 Nov. 21, 2017        SCO                         Flynn
 Nov. 22, 2017        SCO produces 302 (final)
 Nov. 29, 2017        SCO                         Flynn agreed to plead
 Nov. 30, 2017        SCO                         Plea agreement signed
 Jan. 11, 2018        SCO                         Flynn
 Jan. 19, 2018        SCO                         Flynn
 Jan. 24, 2018        SCO                         Flynn
 March 1, 2018        SCO                         CB Phone Call
 March 13, 2018       First Government Production
 Apr. 25, 2018        SCO                            Flynn
 May 1, 2018          SCO                            Flynn
 May 4, 2018          SCO                            Flynn
 May 17, 2018         SCO                            Flynn
 May 23, 2018         SCO                            Flynn
 May 25, 2018         Second Gov. Production
 June 1, 2018         Third Gov. Production
 June 13, 2018        SCO                            Flynn
 June 14, 2018        SCO                            Flynn
 June 24, 2018        Fourth Gov. Production
 June 25, 2018        EDVA                           Flynn
 July 26, 2018        EDVA                           Flynn
 July 26, 2018        SCO                            Flynn
 Sept. 17, 2018       SCO                            Flynn
 Oct. 4, 2018         Fifth Gov. Production Letter
 Oct. 24, 2018        CB Call with SCO
 Nov. 8, 2018         Gov. reply to Oct. 15 letter
                      from CB
 Nov. 15, 2018        CB Call with SCO
 Dec. 14, 2018        Sixth Production Letter
 Dec. 17, 2018        CB Call with SCO
 Dec. 18, 2018        Scheduled Sentencing           POSTPONED
 Jan. 28, 2019        EDVA                           Flynn
 Feb. 5, 2019         EDVA                           Flynn
 Feb. 28, 2019        EDVA                           Flynn
 Apr. 5, 2019         EDVA                           Flynn
 June 6, 2019         EDVA                           Flynn
 June 25, 2019        EDVA                           Flynn
 August 16, 2019      Seventh Gov. Production
                      letter
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

     Plaintiff,

     v.                                                  Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.




                                     DECLARATION OF
                                    KHODY R. DETWILER

          I, Khody R. Detwiler of Lesnevich & Detwiler, 7550 Woodbury Pike, Roaring Spring, PA

16673, swear and affirm as follows:


1.        I am of sound mind and over the age of eighteen, and I make the following declaration

based on my personal knowledge.


                                    EXPERT QUALIFICATIONS


2.        I am a forensic document examiner and principal of Lesnevich & Detwiler located in

Roaring Spring, Pennsylvania. I have been involved in the field of forensic document examination

since 2008. My initial training was completed in accordance with the SWGDOC Standard for

Minimum Training Requirements for Forensic Document Examiners, under the direct supervision

and instruction of senior forensic document examiner, Gus R. Lesnevich.


3.        I specialize in handwriting and signature analysis and regularly conduct examinations

pertaining to alterations, obliterations, and erasures, as well as non-destructive ink, paper, and



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indentation analysis, among other specialties specific to forensic document examination. Since the

beginning of my career in the field of forensic document examination over a decade ago, I have

conducted a wide variety of forensic examinations on thousands of individual documents and

signatures involved in various litigations throughout the United States and abroad.           My

international casework has required extensive travel to locations throughout South America,

Europe, and the Middle East.


4.     I have been received as an expert, and have presented evidence, on numerous occasions in

both state and federal courts throughout the United States, and internationally. A sampling of

some of the key cases I have been involved with are included in my curriculum vitae, attached

hereto as Exhibit 1. I also contract with a variety of state and federal law enforcement agencies,

insurance companies, and private entities to perform forensic document examination services on a

regular basis. My professional qualifications and affiliations are set forth more fully in my

curriculum vitae.


                                         ASSIGNMENT


5.     I have been retained in this matter by Attorney Sidney Powell, on behalf of Defendant

Michael T. Flynn in the above-captioned action, to undertake and address the following:


       5.1.    To conduct a forensic handwriting examination and comparison of a series of

handwritten notations purported created during an interview that occurred on January 24, 2017,

herein referred to as “the (Q-1) notations”. Specifically, I have been asked to determine, if

possible, whether the (Q-1) notations were completed in a contemporaneous manner (i.e., during

the course of the open interview) or whether they were prepared at some point in time after the

interview concluded. Additionally, I have been asked to determine whether any portion(s) of the

submitted notations were modified and/or added to after the fact.

                                                2
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                               MATERIALS PROVIDED FOR EXAMINATION


6.       For the purpose of my analysis, I have been provided with a PDF file containing

reproductions of three (3) pages of handwritten notations (Q-1), purportedly authored by FBI

Agent, Peter Strzok during an interview with General Michael T. Flynn commencing on January

24, 2017 1.


                                         SUMMARY OF CONCLUSION


7.       Based upon the inherent limitations arising from the examination of non-original evidence,

compounded with the lack of any known comparison handwritten notations of Agent Peter Strzok

(i.e., other non-contested handwritten notations prepared under like conditions), it has been

determined that no conclusion can be rendered as to whether the submitted (Q-1) notations were

written during the course of the January 24th interview, or prepared at a subsequent time period.

Moreover, as a result of the submission of sub-par reproduction quality evidence, no specialized

forensic document examinations, such as spectral ink analysis or electrostatic detection analysis,

could be conducted to further address whether any portion(s) of the submitted (Q-1) notations were

changed or added after the fact.


8.       The conclusion summarized above corresponds to the “no conclusion (totally inconclusive,

indeterminable)” point on the nine-point conclusion scale propounded by the Scientific Working

Group for Forensic Document Examination (“SWGDOC”) 2 Standard Terminology for Expressing


1
         Attached as Exhibit 2 is a true and accurate reproduction of the Exhibit Q-1 notations submitted for
analysis in this matter.
2
          The Scientific Working Group for Forensic Document Examination develops standards and guidelines for
the field of forensic document examination. SWGDOC is composed of private examiners and government examiners
from local, state, and federal laboratories throughout the United States. SWGDOC began in 1997 as TWGDOC
(Technical Working Group for Questioned Documents), was renamed SWGDOC in 1999, and was reorganized in
2001. From 2000 to 2012 SWGDOC published their standards through the American Society for Testing and
Materials International (now simply ASTM International). In 2012 SWGDOC stopped publishing their standards


                                                         3
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Conclusions of Forensic Document Examiners. On that scale, “no conclusion” is defined as

follows: “This is the zero point of the confidence scale. It is used when there are significantly

limiting factors, such as disguise in the questioned and/or known writing or a lack of comparable

writing, and the examiner does not have even a leaning one way or another.”


                                           ANALYSIS DISCUSSION


9.      When attempting to determine whether a handwritten entry has been modified or changed,

there are several non-destructive examinations that can be conducted by forensic document

examiners in an effort to address such a query; however, most (if not all) of these types of

specialized examinations require that the analysis be conducted with the original evidence.


10.     On the basis thereof, one of the more common types of non-destructive specialized

examinations conducted by forensic document examiners is referred to as a “filtered-light” or

“spectral” examination. In many cases, this type of analysis is routinely completed with the aid of

a Video Spectral Comparator (more commonly referred to as a “VSC®”). In our laboratory, we

carry out these types of specialized examinations and comparisons with a Foster + Freeman Video

Spectral Comparator (Model: VSC®6000/HS)3.


11.     In short, the VSC® is a scientific instrument, or platform, that allows an examiner to non-

destructively examine and evaluate materials, such as inks and papers, beyond the visible light

spectrum; which is accomplished by using different light sources (e.g., Infrared and Ultraviolet)

together with various light filters. Since different ink compositions will often absorb and reflect

light at different wavelengths, it may be possible through spectral ink analysis to determine if a


through ASTM and began self-publishing their standards as is the practice for nearly every other SWG group
(http://www.swgdoc.org).
3
         Attached as Exhibit 3 is a true and correct copy of the product brochure for the Foster + Freeman Video
Spectral Comparator VSC®6000/HS.

                                                         4
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handwritten entry (or portions of a handwritten entry) found within a document were written with

different writing ink formulas.


12.    Specifically, if you were to examine a handwritten entry that was prepared with two

different writing ink formulas, using infrared lighting and bandpass filters, differences in the

optical properties of the two ink formulas may become visible. With the VSC®, these “differences”

are often observed as “Grayscale” variations which result in the illusion that one ink formula

“disappears” from the document, while the other remains perceptible; however, this phenomenon

is the actual visualization of the different ink components absorbing and reflecting the light source

at that particular wavelength. Therefore, if you were to examine a series of handwritten notations

that were modified or prepared with a multiple writing ink formulas, it may be possible to visualize

and image the changes or additions through non-destructive VSC® spectral ink analysis; however,

the original evidence would be required to complete this analysis.


13.     Aside from the vast ink discrimination capabilities, non-destructive VSC® spectral

analysis may provide additional pertinent information through a variety of other specialized

examinations, including: paper stock analysis, paper fiber disturbance detection (caused by

erasures, chemicals, and/or other means), watermark visualization and examination, indentation

imaging and decipherment, latent image analysis, security feature detection and examination, as

well as font and print process identification and comparison. When original evidence is submitted

for examination, non-destructive VSC® spectral analysis is customarily completed in conjunction

with a variety of other forensic document examinations.


14.    When tasked with determining whether modifications or insertions have occurred within a

questioned entry or document, non-destructive indentation analysis may provide key evidence

when making such a determination.


                                                 5
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15.     Indentation examinations are routinely conducted utilizing a variety of lighting techniques

(e.g., oblique lighting), as well as a Foster + Freeman Electrostatic Detection Apparatus (more

commonly referred to as an “ESDA®”) 4.


16.    The ESDA® analysis allows for an examiner to non-destructively develop and examine

writing indentations, either visible or latent, that may appear on the surface of a document. The

physical results of the ESDA® analysis are encapsulated as “ESDA® Lifts” which can be used for

further examination to sequence writings, or to link the writing impressions to other documents

and/or sources. Additionally, through ESDA® indentation analysis it may possible to establish the

“date” a document or entry if the recovered impressions or indentations can be sourced back to

another item of a known date or origin.


17.    As indicated, the original evidence would be required to conduct both the VSC® and

ESDA® examinations. If the original (Q-1) notations were made available for inspection a

definitive conclusion as to whether or not any portion(s) of the notations were modified or added

may be possible through the non-destructive methods outlined above.


                                     EXAMINATIONS CONDUCTED

18.    In an attempt to fully-address the proposed assignment in this matter, I completed a series

of visual examinations and comparisons of the (Q-1) notations. To the extent possible, each of the

handwriting examinations and comparisons conducted in this matter were non-destructive and

conform to the SWGDOC Standard Guide for Examination of Handwritten Items.




4
       Attached as Exhibit 4 is a true and correct copy of the product brochure for the Foster + Freeman ESDA®2.

                                                      6
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                           OBSERVATIONS AND RESULTS OF EXAMINATION


19.     Although the overall format of (Q-1) notations may not appear to be entirely consistent

with the “anticipated” writing format often associated with notetaking (e.g., inter/intra word

spacing, formatting, and overall writing size), without access to comparison notations it is not

possible to establish a baseline, or habit pattern for how Agent Strzok would normally record

notations under similar conditions. As such, there is no way to determine whether the (Q-1)

notations are representative of the complete normal and natural handwriting habits and

characteristics of Agent Strzok exhibited under “like” conditions. Consequently, no conclusion 5

can be rendered as to whether the (Q-1) handwritten notations were prepared during the interview

as purported, or at subsequent time.


20.     If additional comparable 6 notations of Agent Strzok written under similar conditions could

be obtained and submitted for analysis, it may be possible to determine whether the (Q-1) notations

were prepared as purported. In consideration of both the observations made, as well as limitations

present, further analysis of the original evidence would likely be necessary to support any

definitive conclusions in this matter.


21.     In the event circumstances may warrant, I reserve the right to supplement this declaration

upon the receipt of any additional evidence, including the originals or better-quality reproductions,

and/or any other pertinent information specific to my analysis in connection with this matter.




5
        “No conclusion (totally inconclusive, indeterminable) – This is the zero point of the confidence scale. It is
used when there are significantly limiting factors, such as disguise in the questioned and/or known writing or a lack
of comparable writing, and the examiner does not have even a leaning one way or another.” - SWGDOC Standard
Terminology for Expressing Conclusions of Forensic Document Examiners.
6
         “Comparable - pertaining to handwritten items that contain the same type(s) of writing and similar
characters, words, and combinations. Contemporaneousness and writing instruments may also be factors.” -
SWGDOC Standard for Examination of Handwritten Items.

                                                         7
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                EXHIBIT 1
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                  KHODY R. DETWILER
                                      T h e Document
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               KHODY R. DE T WILER
                                        Forensic Document Examiner




                  C ONTAC T          PROFE SSI ONA L PROFILE


   khody@lesnevich.com               A forensic document specialist with a focus in handwriting and signature analysis. I
                                     provide detailed, proprietary reports, and high-quality demonstrative exhibits for attorneys,
         linkedin.com/in/            state and federal law enforcement agencies, insurance agencies, mid to large sized
        khody-r-detwiler             businesses, and private clientele. My objective for every consultation is to provide my
   7550 Woodbury Pike                clients with the expertise needed so they can confidently proceed to court or make an
Roaring Spring, PA 16673             informed internal decision about the nature or authenticity of a written or digital document.

       Roaring Spring, PA
          814.793.2377               HIGHLIGHTS/ MAJOR CASE S
           Pittsburgh, PA
           412.430.3887
                                     PEOPLE VS. CORY BYRD (IND. #2011-749) & PEOPLE V.
         Philadelphia, PA            DAVID STEVENSON (IND. #2013-067)
          215.800.0120
                                     • Retained by the Orange County District Attorney’s Office in Goshen, New York to examine
   www.lesnevich.com                   evidence, and provide expert witness testimony, in two separate highly publicized homicide
                                       trials involving the murder of a 4-year-old child, and the murder of a 35-year-old mother of
                                       four. Both trials resulted in guilty verdicts.
                       SKILLS
                                     EXONERATION OF SHAURN THOMAS (PHILADELPHIA, PA)
                            Trials   • Retained by the Pennsylvania Innocence Project and Dechert LLP in the successful
                                       exoneration of Shaurn Thomas. Mr. Thomas spent 24 years in a Pennsylvania prison for a
                  Civil Litigation
                                       murder that he did not commit.
             Forensic Research
          Criminal Prosecution       PEOPLE VS. ANTHONY D. MARSHALL AND FRANCIS X. MORRISSEY, JR.
         Criminal Investigations     (BROOKE ASTOR)
                                     • Assisted on a matter in which our firm was retained by the New York County District
    Courtroom Demonstratives
                                       Attorney’s Office (Manhattan) in a highly publicized criminal case involving the Estate of
                                       Brooke Astor.
                  SERVIC E S

                                     PAUL D. CEGLIA VS. MARK ELLIOT ZUCKERBERG AND FACEBOOK INC.
             forensic consulting     • Retained by counsel representing Facebook and Mark Zuckerberg in a breach of contract
                                       action brought in Federal Court in Buffalo, New York; alleging a multi-billion-dollar ownership
                handwriting and
              signature analysis       interest in Facebook.

electronic signature verification    FLETCHER ET AL. VS. DOIG ET AL.
    Non-destructive ink, paper,      • Retained by counsel representing famed European artist, Peter Doig, in a civil action brought in
      and indentation analysis         Federal Court in Chicago, Illinois; pertaining to the authentication of a purported original
                                       “Peter Doig” painting; with an estimated value in excess of 10 million dollars.
forensic document examination
            and authentication                                                Khody R. Detwiler CV (October 2019) - Page 1 of 14
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               KHODY R. DE T WILER
                                        Forensic Document Examiner




                  C ONTAC T          HIGHLIGHTS/ MAJOR CASE S continued


   khody@lesnevich.com               THE ISLAMIC BANK OF ASIA LTD., VS. AHMAD HAMAD ALGOSAIBI &
                                     BROTHERS CO. (SINGAPORE)
         linkedin.com/in/            • Retained by counsel representing the Islamic Bank of Asia Ltd. in a matter involving multiple
        khody-r-detwiler               fraud claims in connection with a series of multi-million-dollar banking transactions originating
   7550 Woodbury Pike                  from Singapore and Saudi Arabia.
Roaring Spring, PA 16673
       Roaring Spring, PA            CHEVRON VS. DONZINGER, ET. AL., (S.D.N.Y.); AGUINDA V. CHEVRON
          814.793.2377               (LAGO AGRIO, ECUADOR); CHEVRON V. REPUBLIC OF ECUADOR
           Pittsburgh, PA            (THE HAGUE, NETHERLANDS)
           412.430.3887              • Retained by counsel representing Chevron Corporation in several different international legal
                                       proceedings stemming from a multi-billion-dollar environmental lawsuit originating from Lago
         Philadelphia, PA
          215.800.0120                 Agrio, Ecuador.

   www.lesnevich.com                 ALGOSAIBI (AHAB) VS. MAAN AL SANEA (SAAD GROUP)
                                     (AL KHOBAR, SAUDI ARABIA)
                                     • Retained by counsel representing Saudi businessman, Maan Al Sanea, in a matter involving
                       SKILLS
                                       multi-billion-dollar fraud claims in multiple jurisdictions with connections to over 100
                                       international banking institutions originating from Saudi Arabia.
                            Trials
                  Civil Litigation   REPUBLIC OF GUINEA (SIMANDOU MINING RIGHTS)
             Forensic Research       • Retained by counsel representing the interests of a large international mining firm in a matter
                                       stemming from allegations that the multi-billion-dollar mining rights to Simandou (a large
          Criminal Prosecution
                                       untapped deposit of high grade iron ore located in the Republic of Guinea) were secured
         Criminal Investigations       through bribery, corruption and fraud.
    Courtroom Demonstratives
                                     ESTATE OF BADRI “ARKADY” PATARKATSISHVILI (TBILISI, REPUBLIC OF GEORGIA)
                  SERVIC E S         • Assisted on a matter in which our firm was retained by counsel representing the multi-billion-
                                       dollar business estate of former Georgian presidential candidate, Badri “Arkady” Patarkatshvili,
                                       originating from Tbilisi, Georgia.
             forensic consulting

                handwriting and      SANUM INVESTMENTS LTD VS. GOVERNMENT OF THE LAO PEOPLE’S
              signature analysis     DEMOCRATIC REPUBLIC
                                     • Retained by counsel representing Macau-based Sanum Investments and Netherlands-based
electronic signature verification
                                       Lao Holdings, NV in bilateral investment treaty arbitration claims against the Government of
    Non-destructive ink, paper,        Laos.
      and indentation analysis

forensic document examination
            and authentication                                                Khody R. Detwiler CV (October 2019) - Page 2 of 14
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               KHODY R. DE T WILER
                                       Forensic Document Examiner




                  C ONTAC T          TRAINING EXPERIENCE/EMPLOYMENT


   khody@lesnevich.com               FORENSIC DOCUMENT EXAMINER
                                     Lesnevich & Detwiler | December 2008 - Present (Partner 2011)
         linkedin.com/in/
        khody-r-detwiler
                                     After completion of the mandatory senior internship, sponsored through Penn State
   7550 Woodbury Pike                University; I began the formal training program in the field of Forensic Document
Roaring Spring, PA 16673
                                     Examination under the direct supervision and instruction of Gus Lesnevich.
       Roaring Spring, PA
          814.793.2377
                                     The training program consists of a 24 month, full-time, training period covering all
           Pittsburgh, PA            aspects of the Forensic Document Examination field.
           412.430.3887
         Philadelphia, PA            My training was completed in accordance with the Scientific Working Group for
          215.800.0120
                                     Forensic Document Examination (SWGDOC) Standard for Minimum Training
   www.lesnevich.com                 Requirements for Forensic Document Examiners (formerly known as the ASTM
                                     International Standard Designation E-2388-11, Standard for Minimum Training
                                     Requirements for Forensic Document Examiners).
                       SKILLS
                                     Some of the specific areas of instruction included in the training program are as follows:
                            Trials
                  Civil Litigation   • Evidence Handling Procedures                  • Examination Procedures
             Forensic Research
                                     • Handwriting/Printing Examination              • Printing Processes
                                     • Photography and Digital Imaging               • Photocopiers/Facsimiles
          Criminal Prosecution
                                     • Alterations, Obliterations and Erasures       • Mechanical Impressions
         Criminal Investigations     • Specialized Lighting Techniques               • Paper and Font Analysis
    Courtroom Demonstratives         • Expert Witness and Legal Proceedings          • Ink Analysis (VSC)
                                     • Electronic Signature Analysis                 • Indentation Analysis (ESDA)
                  SERVIC E S         • Demonstrative Court Chart Production          • Report Preparation


             forensic consulting     As part of my training, I was also responsible for conducting a wide variety of case-
                                     specific research and literature reviews correlating to each of the individual cases
                handwriting and      submitted to our laboratory for analysis.
              signature analysis

electronic signature verification    This task was primarily accomplished through extensive review and study of the leading
    Non-destructive ink, paper,      authoritative texts and peer-reviewed journal articles published within the Forensic
      and indentation analysis       Document Examination field.

forensic document examination
            and authentication                                            Khody R. Detwiler CV (October 2019) - Page 3 of 14
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               KHODY R. DE T WILER
                                        Forensic Document Examiner




                  C ONTAC T          TEC HNICA L TRAINING


   khody@lesnevich.com               TECHNICAL TRAINING BY FOSTER + FREEMAN USA INC.
                                     (Sterling, Virginia - September 2, 2009)
         linkedin.com/in/            • Non-Destructive Ink Analysis -Video Spectral Comparator (VSC)
        khody-r-detwiler                      - Models: VSC 6000, VSC 2000HR and VSC 400
   7550 Woodbury Pike                • Non-Destructive Indentation Analysis - Electrostatic Detection Apparatus (ESDA)
Roaring Spring, PA 16673                      - Models: ESDA2 and ESDA Lite
       Roaring Spring, PA
          814.793.2377               TECHNICAL TRAINING IN PHOTOGRAPHY AND DIGITAL IMAGING SOFTWARE
                                     (Martinsburg, Pennsylvania)
           Pittsburgh, PA
           412.430.3887              • Instruction in Adobe Products by professional photographer Gerald T. Leidy
                                     • Following graduation from the Brooks Institute of Photography in Santa Barbara,
         Philadelphia, PA              California, Mr. Leidy enlisted with the United States Navy - Atlantic Fleet Combat
          215.800.0120
                                       Camera Group stationed in Norfolk, Virginia. In 1974, after serving four years with
   www.lesnevich.com                   the United States Navy, Mr. Leidy established, and currently maintains, a professional
                                       photography studio located in Martinsburg, Pennsylvania.


                       SKILLS        APPLETON PAPERS SECURITY PAPER SCHOOL
                                     (Roaring Spring, Pennsylvania - December 1, 2011)
                                     • Overview of the paper making and Dandy Roll Processes
                            Trials
                                     • Watermarking and Securities Technology
                  Civil Litigation
             Forensic Research       FUNDAMENTALS OF FORENSIC QUESTIONED DOCUMENTS
          Criminal Prosecution       Continuing & Professional Education Certificate Program through West Virginia University
                                     (November 2012)
         Criminal Investigations
                                     • Instructed by Anthony Iten of West Virginia University
    Courtroom Demonstratives
                                     ADVANCED VIDEO SPECTRAL COMPARATOR (VSC) WORKSHOP
                  SERVIC E S         (Indianapolis, Indiana - August 29, 2013)
                                     • Instructed by Foster + Freeman Application Engineers Michael Zontini & Owen Lang

             forensic consulting
                                     ROCHESTER INSTITUTE OF TECHNOLOGY - PRINTING PROCESS IDENTIFICATION AND
                handwriting and      IMAGE ANALYSIS FOR FORENSIC DOCUMENT EXAMINERS SEMINAR
              signature analysis     (Rochester, New York - November 12-15, 2013)
                                     • Some of the topics of instruction included the following:
electronic signature verification
                                             - Traditional and Digital Printing Process Identification and Discrimination
    Non-destructive ink, paper,              - Image Analysis and Digital Image Processing
      and indentation analysis               - Security Inks and Security Papers
forensic document examination
            and authentication                                               Khody R. Detwiler CV (October 2019) - Page 4 of 14
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               KHODY R. DE T WILER
                                       Forensic Document Examiner




                  C ONTAC T          TEC HNICA L TRAINING continued


   khody@lesnevich.com               ADVANCED VIDEO SPECTRAL COMPARATOR (VSC) WORKSHOP
                                     (Honolulu, Hawaii - August 15, 2014)
         linkedin.com/in/            • Instructed by Foster + Freeman Application Engineers Michael Zontini & F.L. Jim Lee
        khody-r-detwiler
   7550 Woodbury Pike                VIDEO SPECTRAL COMPARATOR (VSC) &
Roaring Spring, PA 16673
                                     ELECTROSTATIC DETECTION APPARATUS (ESDA) TECHNOLOGY:
       Roaring Spring, PA            EXPLAINING TO THE LAYPERSON WORKSHOP
          814.793.2377
                                     (San Diego, California - September 1, 2017)
           Pittsburgh, PA            • Instructed by Foster + Freeman Application Engineer Michael Zontini
           412.430.3887
         Philadelphia, PA            PIKASO WRITE-ON 3.0 DOCUMENT COMPARISON SOFTWARE WORKSHOP
          215.800.0120
                                     (Park City, Utah - August 18, 2018)
   www.lesnevich.com                 • Instructed by Pierre Goudreault and Brian Lindblom



                       SKILLS        EDUCATI ON

                            Trials
                                     BACHELOR OF SCIENCE
                  Civil Litigation
                                     Criminal Justice
             Forensic Research       The Pennsylvania State University
          Criminal Prosecution       University Park, Pennsylvania
         Criminal Investigations     2005 - 2009
    Courtroom Demonstratives         • Deans List Honors
                                     • From August through December of 2008, I completed a mandatory semester long
                  SERVIC E S           internship with Gus Lesnevich for partial fulfillment of my bachelor’s degree in the
                                       Criminal Justice program at Penn State University.

             forensic consulting

                handwriting and
              signature analysis

electronic signature verification

    Non-destructive ink, paper,
      and indentation analysis

forensic document examination
            and authentication                                            Khody R. Detwiler CV (October 2019) - Page 5 of 14
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               KHODY R. DE T WILER
                                       Forensic Document Examiner




                  C ONTAC T          C ONTINUING EDUCATI ON


   khody@lesnevich.com               AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
                                     64TH ANNUAL SCIENTIFIC MEETING
         linkedin.com/in/            (Atlanta, Georgia - February 20-25, 2012)
        khody-r-detwiler
                                     • Workshop/Panel Discussion: Flawed Forensics: Recognizing and Challenging
   7550 Woodbury Pike                  Misleading Forensic Evidence and Disingenuous Expert Testimony
Roaring Spring, PA 16673
       Roaring Spring, PA            AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
          814.793.2377
                                     65TH ANNUAL SCIENTIFIC MEETING
           Pittsburgh, PA            (Washington, D.C. - February 18-23, 2013)
           412.430.3887
                                     • Workshop: Signature Examination of Healthy and Impaired Writers
         Philadelphia, PA                   - (Instructed by Michael Caligiuri & Linton Mohammed)
          215.800.0120
                                     • Workshop: Hyperspectral Imaging - United States Library of Congress
   www.lesnevich.com                        - (Instructed by Fanella G. France & Joseph C. Stevens)

                                     AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
                       SKILLS        67TH ANNUAL SCIENTIFIC MEETING
                                     (Orlando, Florida - February 16-21, 2015)
                            Trials   • Workshop: Classification of Typewritten Documents
                  Civil Litigation          - (Instructed by Karen J. Nobles & Peter V. Tytell)
             Forensic Research       • Workshop: Automating Image Production for Forensic Document Examiners
                                            - (Instructed by Mark Goff)
          Criminal Prosecution
         Criminal Investigations     AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
    Courtroom Demonstratives         71ST ANNUAL SCIENTIFIC MEETING
                                     (Baltimore, Maryland - February 18-23, 2019)
                  SERVIC E S         • Workshop: Deciphering Complex Electrostatic Detection Device (EDD) Impressions
                                            -(Instructed by Mark Goff)
             forensic consulting
                                     AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                handwriting and
                                     69TH ANNUAL MEETING
              signature analysis
                                     (Philadelphia, Pennsylvania - August 20-25, 2011)
electronic signature verification    • Workshop: Printing Process Identification for Forensic Document Examiners
                                             - (Instructed by Scott Walters & Jeffrey Payne)
    Non-destructive ink, paper,
      and indentation analysis       • Workshop: Using Adobe Photoshop in a Forensic Document Workflow
                                             - (Instructed by George Reis)
forensic document examination
            and authentication                                         Khody R. Detwiler CV (October 2019) - Page 6 of 14
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               KHODY R. DE T WILER
                                       Forensic Document Examiner




                  C ONTAC T          C ONTINUING EDUCATI ON continued


   khody@lesnevich.com               AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                     70TH ANNUAL MEETING
         linkedin.com/in/            (Charleston, South Carolina - August 18-23, 2012)
        khody-r-detwiler             • Workshop: The Individuality of Inkjet Printing
   7550 Woodbury Pike                       - Instructed by Rolf Fauser)
Roaring Spring, PA 16673             • Workshop: Electrostatic Detection Devices (EDD)
       Roaring Spring, PA              Theoretical and Operational Considerations
          814.793.2377                      -(Instructed by Dan C. Purdy, Grant Sperry & Robert Muehlberger)
           Pittsburgh, PA
           412.430.3887              AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                     71ST ANNUAL MEETING
         Philadelphia, PA
                                     (Indianapolis, Indiana - August 24-29, 2013)
          215.800.0120
                                     • Workshop: Conclusion Scales and Logical Inference
   www.lesnevich.com                         - (Instructed by R. Brent Ostrum)
                                     • Workshop: Forensic Examination of Digital Signatures
                                             - (Instructed by William Flynn & Kathleen Annunziata Nicolaides)
                       SKILLS        • Workshop: Challenging Signatures
                                             - (Instructed by A. Frank Hicks)
                            Trials
                                     JOINT ANNUAL MEETING OF THE AMERICAN SOCIETY OF QUESTIONED
                  Civil Litigation
                                     DOCUMENT EXAMINERS (ASQDE - 72ND) AND THE AUSTRALASIAN SOCIETY OF
             Forensic Research       FORENSIC DOCUMENT EXAMINERS (ASFDE)
          Criminal Prosecution       (Honolulu, Hawaii - August 11-15, 2014)
                                     • Workshop: Skillful Freehand Signature Simulation
         Criminal Investigations
                                            - (Instructed by Lloyd Cunningham & Linton Mohammed
    Courtroom Demonstratives         • Workshop: Adobe, Digital Media and Evidence
                                            - (Instructed by John Penn II of Adobe)
                  SERVIC E S
                                     AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                     73RD ANNUAL MEETING
             forensic consulting
                                     (Toronto, Ontario - August 9-13, 2015)
                handwriting and      • Workshop: Characteristics of Fountain Pen Writing and Aqueous Ink Analysis
              signature analysis            - (Instructed by Lloyd Cunningham, Valery Aginsky, Linton Mohammed &
electronic signature verification
                                               William Flynn)
                                     • Workshop: Principles of Forensic Examination of Arabic Signatures
    Non-destructive ink, paper,             - (Instructed by Mohammed Aloyoni & Dr. Abdulaziz Alkahtani)
      and indentation analysis

forensic document examination
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               KHODY R. DE T WILER
                                       Forensic Document Examiner




                  C ONTAC T          C ONTINUING EDUCATI ON continued


   khody@lesnevich.com               AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                     75TH ANNUAL MEETING
         linkedin.com/in/            (San Diego, California - August 28 through September 1, 2017)
        khody-r-detwiler
                                     • Workshop: Forensic Science Research: Your Mission to Propose,
   7550 Woodbury Pike                  Innovate and Collaborate
Roaring Spring, PA 16673
                                            - (Instructed by Heather Waltke, Gerald LaPorte, Lisa Hanson & Melissa Taylor)
       Roaring Spring, PA            • Workshop: Preparing a Digital Signature File for Forensic Analysis
          814.793.2377
                                            - (Instructed by Kathleen Annunziata Nicolaides & William Flynn)
           Pittsburgh, PA            • Workshop: Chinese Handwriting and Signatures:
           412.430.3887
                                       Hanzi through the Eyes of the Forensic Document Examiner
         Philadelphia, PA                   - (Instructed by Chiew Yung Yang & Chin Chin Lim)
          215.800.0120
                                     • Workshop: Write or Wrong? Bias, Decision-Making and the use of
   www.lesnevich.com                   Contextual Information in Forensic Document Examination
                                            - (Instructed by Niki Osborne, Lloyd Cunningham & Jane Lewis )

                       SKILLS        JOINT ANNUAL MEETING OF THE AMERICAN SOCIETY OF QUESTIONED
                                     DOCUMENT EXAMINERS (ASQDE - 76TH ANNUAL MEETING) AND THE
                            Trials   SOUTHWEST ASSOCIATION OF FORENSIC DOCUMENT EXAMINERS (SWAFDE)
                  Civil Litigation   (Park City, Utah - August 19-23, 2018)
             Forensic Research       • Workshop: Mark Hofmann – Master Forger and Murderer
                                             - (Instructed by George Throckmorton, William Flynn & Lloyd Cunningham)
          Criminal Prosecution
                                     • Workshop: Latin American Writing
         Criminal Investigations             - (Instructed by Manuel Gonzales, Eric Cedeno & Leydis Gonzalez)
    Courtroom Demonstratives
                                     DOCUMENT SECURITY ALLIANCE (DSA) MEETING
                  SERVIC E S         (Washington, D.C. - October 20, 2011)
                                     • Discussion: Document security before and after September 11th 2001
             forensic consulting

                handwriting and
              signature analysis

electronic signature verification

    Non-destructive ink, paper,
      and indentation analysis

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                                       Forensic Document Examiner




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   khody@lesnevich.com               MEASUREMENT SCIENCE & STANDARDS IN FORENSIC
                                     HANDWRITING ANALYSIS CONFERENCE
         linkedin.com/in/            (Gaithersburg, Maryland - June 4-5, 2013)
        khody-r-detwiler
                                     • National Institute of Standards and Technology Campus (NIST)
   7550 Woodbury Pike                • In collaboration with the following organizations:
Roaring Spring, PA 16673
                                              - American Academy of Forensic Sciences - QD Section (AAFS)
       Roaring Spring, PA                     - American Board of Forensic Document Examiners (ABFDE)
          814.793.2377                        - American Society of Questioned Document Examiners (ASQDE)
           Pittsburgh, PA                     - Federal Bureau of Investigation Laboratory (FBI)
           412.430.3887                       - National Institute of Justice (NIJ)
         Philadelphia, PA                     - Scientific Working Group for Forensic Document Examination (SWGDOC)
          215.800.0120
                                     MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
   www.lesnevich.com                 ANNUAL MEETING
                                     (State College, Pennsylvania - May 19-23, 2014)
                       SKILLS        • Attended various presentations sponsored by the Questioned Documents Section.
                                     • Some of the topics of discussion included the following:
                                             - Thermal Ribbon Analysis and the Thermal Ribbon Analysis Platform (TRAP)
                            Trials           - The Use of Photoshop Macros to Simplify the Creation of Working Charts
                  Civil Litigation           - Spectral Analysis of Documents Subjected to Latent Print Examinations
             Forensic Research                 utilizing the Video Spectral Comparator (VSC)
          Criminal Prosecution
                                     MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS) QUESTIONED
         Criminal Investigations     DOCUMENTS SECTION (QD) FALL WORKSHOP: “VALUABLE SIGNATURES AND
    Courtroom Demonstratives         MEMORABILIA” NATIONAL BASEBALL HALL OF FAME
                                     (Cooperstown, New York - November 12, 2015)
                  SERVIC E S         • Instructed by the following individuals:
                                             - Michael Posner - Manager of Major League Baseball’s Authentication Program
             forensic consulting
                                             - Special Agent, Brian Brusokas - Art Crime Team (FBI)
                                             - Special Agent, John Iannuzzi - Interstate Robbery Apprehension Team (FBI)
                handwriting and              - Gregg Mokrzychi - Forensic Document Examiner (FBI)
              signature analysis             - Peter J. Belcastro, Jr. - Forensic Document Examiner (FBI)
electronic signature verification    • National Baseball Hall of Fame and Museum Panel Discussion:
                                             - Erik Strohl - VP of Exhibitions and Collections -National Baseball HOF
    Non-destructive ink, paper,              - Jim Gates - Library Director -National Baseball HOF
      and indentation analysis
                                             - Sue MacKay - Director of Collections -National Baseball HOF
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   khody@lesnevich.com               MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                                     ANNUAL MEETING
         linkedin.com/in/            (Cambridge, Maryland - May 18-22, 2015)
        khody-r-detwiler
                                     • Workshop: Forensic Examination of Biometrically Captured e-Signatures
   7550 Woodbury Pike                      - (Instructed by William Flynn & Kathleen Annunziata Nicolaides)
Roaring Spring, PA 16673
       Roaring Spring, PA            MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS) ANNUAL
          814.793.2377
                                     MEETING
           Pittsburgh, PA            (Richmond, Virginia - May 17-20, 2016)
           412.430.3887
                                     • Workshop: The Application of QD Examinations of the Analysis of Fine Art and Other
         Philadelphia, PA            Antiques
          215.800.0120
                                            - (Instructed by Gregg Mokrzycki)
   www.lesnevich.com                 • Workshop: Identification Science
                                            - (Instructed by Stephen McKasson)

                       SKILLS        MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                                     ANNUAL MEETING
                            Trials   (Pittsburgh, Pennsylvania - May 23-26, 2017)
                  Civil Litigation   • Workshop: The Examination of Questioned Documents with Complicated Specimens
             Forensic Research       Requiring Multiple Examination Types
                                             - (Instructed by Nadeem-Ul-Hassan Khan)
          Criminal Prosecution
                                     • Workshop: Covert Communications and Concealment Techniques
         Criminal Investigations             - (Instructed by Gregg Mokrzycki)
    Courtroom Demonstratives
                                     MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS) QUESTIONED
                  SERVIC E S         DOCUMENTS SECTION (QD) FALL WORKSHOP: “QUESTIONED DOCUMENTS
                                     EXPERT TESTIMONY WORKSHOP”
             forensic consulting     VIRGINIA DEPARTMENT OF FORENSIC SCIENCES
                                     (Manassas, Virginia - December 5, 2017)
                handwriting and
                                     • In addition to myself, this workshop was instructed by the following individuals:
              signature analysis
                                             - (Joseph Stevens, Michael Wallace, Kenneth E. Melson, Ted Burkes, Kathleen
electronic signature verification               Storer & Kelly Pearson)
    Non-destructive ink, paper,
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                                       Forensic Document Examiner




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   khody@lesnevich.com               MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                                     ANNUAL MEETING
         linkedin.com/in/            (Hunt Valley, Maryland - May 15-18, 2018)
        khody-r-detwiler
                                     • Workshop: VSC & ESDA Technology: Explaining to the Layperson
   7550 Woodbury Pike                       - (Instructed by Allyce McWhorter & Rebecca Walls of Foster + Freeman)
Roaring Spring, PA 16673
                                     • Workshop: Handwriting Examination of Signatures
       Roaring Spring, PA                   - (Instructed by Ronald N. Morris)
          814.793.2377
                                     • Workshop: Charred and Water Soaked Documents
           Pittsburgh, PA                   - (Instructed by Gregg Mokrzycki & Peter J. Belcastro, Jr.)
           412.430.3887
         Philadelphia, PA            MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
          215.800.0120
                                     ANNUAL MEETING
   www.lesnevich.com                 (Morgantown, West Virginia - May 7-10, 2019)
                                     • Workshop: Examining Writing on Unusual Surfaces
                                           - (Instructed by Gregg Mokrzycki & Peter J. Belcastro, Jr.)
                       SKILLS        • Workshop: Examination of Torn/Cut Edges
                                           - (Instructed by Lorie Cousin & Peter J. Belcastro, Jr.)
                            Trials   • Workshop: How Chemical Examinations of Inks and Paper Can Corroborate and
                  Civil Litigation   Supplement Forensic Document Examinations
             Forensic Research             - (Instructed by Gerald M. LaPorte)

          Criminal Prosecution
                                     NORTHEASTERN ASSOCIATION OF FORENSIC SCIENTISTS (NEAFS) 40TH
         Criminal Investigations     ANNUAL MEETING
    Courtroom Demonstratives         (Hershey, Pennsylvania - November 3-6, 2014)
                                     • Workshop: Ethics in the Practice of Forensic Science
                  SERVIC E S                - (Instructed by Robin Bowen of West Virginia University)


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   khody@lesnevich.com               3RD INTERNATIONAL WORKSHOP ON
                                     AUTOMATED FORENSIC HANDWRITING ANALYSIS (AFHA)
         linkedin.com/in/            (Honolulu, Hawaii - August 9-10, 2014)
        khody-r-detwiler
                                     • This particular workshop explored a variety of automated systems which may be used
   7550 Woodbury Pike                  to assist in the examination of both “online” and “offline” signatures and writings.
Roaring Spring, PA 16673
                                       Some of the specific topics of discussion included the following:
       Roaring Spring, PA                    - Overview of handwriting pattern recognition systems
          814.793.2377
                                                      •Kinematic approaches to signature analysis
           Pittsburgh, PA                             • Mathematical approaches to signature complexity and stability
           412.430.3887
                                             - Endorsed by the following organizations:
         Philadelphia, PA                             • German Research Centre for Artificial Intelligence (DFKI)
          215.800.0120
                                                      • Netherlands Forensic Institute - Ministry of Security and Justice (NFI)
   www.lesnevich.com                                  • American Society of Questioned Document Examiners (ASQDE)

                                     MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS (MAFS)
                       SKILLS        44TH ANNUAL MEETING
                                     (Mackinac Island, Michigan - September 20-25, 2015)
                            Trials   • Workshop: Forensic Examination of Electronic Signatures
                  Civil Litigation          - (Instructed by William Flynn & Kathleen Annunziata Nicolaides)
             Forensic Research       • Workshop: Getting the Most Out of Your Visual Spectral Comparator
                                            - (Instructed by David Tobin & Michael Zontini of Foster + Freeman USA)
          Criminal Prosecution
                                     • Workshop: The Examination of Documents Requiring a Multi-Faceted Approach
         Criminal Investigations            - (Instructed by Brian Lindblom)
    Courtroom Demonstratives         • Workshop: Evaluating Signatures: What Matters?
                                            - (Instructed by A. Frank Hicks)
                  SERVIC E S         • Workshop: The Application of Questioned Document Examinations to the Analysis of
                                       Valuable Signatures & Other Antiques
             forensic consulting            - (Instructed by Peter J. Belcastro, Jr. & Gregg Mokrzycki)

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                                       Forensic Document Examiner




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   khody@lesnevich.com               THE SOUTHWESTERN ASSOCIATION OF FORENSIC DOCUMENT EXAMINERS
                                     (SWAFDE) ANNUAL MEETING
         linkedin.com/in/            (Denver, Colorado - October 11-13, 2019)
        khody-r-detwiler
                                     • Workshop: A Behind the Scenes (and under the covers) Tour of PDF’s from Adobe’s
   7550 Woodbury Pike                PDF Architect
Roaring Spring, PA 16673
                                            - (Instructed by Leonard Rosenthol of Adobe)
       Roaring Spring, PA            • Workshop: How Chemical Examinations of Inks and Paper Can Corroborate and
          814.793.2377
                                     Supplement Forensic Document Examinations
           Pittsburgh, PA                   - (Instructed by Gerald M. LaPorte)
           412.430.3887
                                     • Workshop: Dispelling the Myths about the Forensic Examination of Handprinting
         Philadelphia, PA                   - (Instructed by Lloyd Cunningham and Linton Mohammed)
          215.800.0120

   www.lesnevich.com                  INTERNATI ONA L EXPERIE NC E



                       SKILLS        Since beginning my career in the field of Forensic Document Examination, I have conducted a
                                     wide variety of forensic examinations on thousands of individual documents and signatures
                                     involved in various litigations throughout the United States and abroad. My international
                            Trials   casework has required extensive travel throughout Europe, South America and the Middle East.
                  Civil Litigation   In addition, I have also been retained on numerous international matters that have not required
                                     international travel.
             Forensic Research
          Criminal Prosecution       TE STIMONY EXPERIE NC E
         Criminal Investigations
    Courtroom Demonstratives
                                     I have been received as an expert, and have presented expert evidence, on numerous occasions
                                     in both state and federal courts throughout the United States, and internationally. A complete
                  SERVIC E S         testimony list is available upon request.


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                                       Forensic Document Examiner




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   khody@lesnevich.com               INTERNATIONAL ASSOCIATION FOR IDENTIFICATION (IAI)
                                     Regular Member
         linkedin.com/in/
        khody-r-detwiler             AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
   7550 Woodbury Pike                Associate Member
Roaring Spring, PA 16673
                                     MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
       Roaring Spring, PA            Regular Member | Currently Serving as Questioned Document Section Chair
          814.793.2377
           Pittsburgh, PA            NORTHEASTERN ASSOCIATION OF FORENSIC SCIENTISTS (NEAFS)
           412.430.3887              Associate Member
         Philadelphia, PA            MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS, INC. (MAFS)
          215.800.0120
                                     Regular Member
   www.lesnevich.com
                                     ASTM INTERNATIONAL: COMMITTEE E30 - FORENSIC SCIENCE (ASTM)
                                     Voting Member
                       SKILLS        AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                     Provisional Member
                            Trials
                                     AAFS AMERICAN STANDARDS BOARD (ASB)
                  Civil Litigation
                                     Forensic Document Examination Consensus Body | Currently serving as Vice Chair
             Forensic Research
          Criminal Prosecution
         Criminal Investigations
    Courtroom Demonstratives


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                EXHIBIT 2
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                                                           DOJSCO-700021197
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                EXHIBIT 3
               PRODUCT BROCHURE:
          FOSTER + FREEMAN VSC®6000/HS
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